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                      EXHIBIT M
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        1       3-Jul-18    9:10:32     29-Jun-18    10:05:43     $13.67       $2.31         9             $102.24
                                                                        2       3-Jul-18    9:09:50     29-Jun-18    10:05:43     $13.65       $2.31         391           $4,433.94
                                                                        3       3-Jul-18    9:09:50     29-Jun-18    10:05:36     $13.65       $2.31         1,300         $14,742
                                                                        4       3-Jul-18    9:09:50     29-Jun-18    10:06:02     $13.65       $2.38         1,309         $14,751.64
                                                                        5       3-Jul-18    9:09:50     29-Jun-18    10:06:02     $13.65       $2.38         1,000         $11,269.40
                                                                        6       3-Jul-18    9:09:29     29-Jun-18    10:06:02     $13.64       $2.38         541           $6,091.34
                                                                        7       3-Jul-18    9:09:29     29-Jun-18    10:05:52     $13.64       $2.39         459           $5,165.17
                                                                        8       3-Jul-18    9:09:29     29-Jun-18    10:05:52     $13.64       $2.39         1,000         $11,253.10
                                                                        9       3-Jul-18    9:09:28     29-Jun-18    10:05:52     $13.63       $2.39         1,000         $11,243.10
                                                                        10      3-Jul-18    9:09:26     29-Jun-18    10:05:52     $13.62       $2.39         1,000         $11,233.10
                                                                        11      3-Jul-18    9:09:26     29-Jun-18    10:05:52     $13.61       $2.39         1,000         $11,223.10
                                                                        12      3-Jul-18    8:56:02     29-Jun-18    10:05:52     $13.60       $2.39         1,000         $11,213.10
                                                                        13      3-Jul-18    9:09:11     29-Jun-18    10:05:52     $13.59       $2.39         1,000         $11,203.10
                                                                        14      3-Jul-18    8:56:01     29-Jun-18    10:05:52     $13.59       $2.39         1,000         $11,203.10
                                                                        15      3-Jul-18    8:52:02     29-Jun-18    10:05:52     $13.58       $2.39         101           $1,130.50
                                                                        16      3-Jul-18    9:09:11     29-Jun-18    10:05:52     $13.54       $2.39         1,000         $11,153.10
                                                                        17      3-Jul-18    9:08:49     29-Jun-18    10:05:52     $13.49       $2.39         400           $4,441.24
                                                                        18      3-Jul-18    9:08:49     29-Jun-18    10:05:52     $13.44       $2.39         1,000         $11,053.10
                                                                        19      3-Jul-18    9:08:29     29-Jun-18    10:05:52     $13.39       $2.39         40            $440.12
                                                                        20      3-Jul-18    9:08:29     29-Jun-18    10:05:54     $13.39       $2.39         960           $10,558.85
                                                                        21      3-Jul-18    9:08:28     29-Jun-18    10:05:54     $13.34       $2.39         1,000         $10,948.80
                                                                        22      3-Jul-18    9:16:12     29-Jun-18    10:05:54     $13.32       $2.39         100           $1,092.88
                                                                        23      3-Jul-18    9:16:12     29-Jun-18    10:05:54     $13.30       $2.39         500           $5,454.40
                                                                        24      3-Jul-18    9:16:12     29-Jun-18    10:05:54     $13.28       $2.39         600           $6,533.28
                                                                        25      3-Jul-18    9:16:12     29-Jun-18    10:05:54     $13.26       $2.39         1,000         $10,868.80
                                                                        26      3-Jul-18    9:16:10     29-Jun-18    10:05:54     $13.24       $2.39         1,000         $10,848.80
                                                                        27      3-Jul-18    8:58:18     29-Jun-18    10:05:54     $13.24       $2.39         1,000         $10,848.80
                                                                        28      3-Jul-18    9:16:07     29-Jun-18    10:05:54     $13.22       $2.39         540           $5,847.55
                                                                        29      3-Jul-18    9:16:07     29-Jun-18    10:06:07     $13.22       $2.39         460           $4,980.60
                                                                        30      3-Jul-18    9:15:16     29-Jun-18    10:06:07     $13.20       $2.39         1,000         $10,807.40
                                                                        31      3-Jul-18    9:15:16     29-Jun-18    10:06:07     $13.18       $2.39         1,000         $10,787.40
                                                                        32      3-Jul-18    9:15:16     29-Jun-18    10:06:07     $13.16       $2.39         1,000         $10,767.40
                                                                                                                                         1
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        33      3-Jul-18    9:19:58     29-Jun-18    10:06:07     $12.90       $2.39         840           $8,826.22
                                                                        34      2-Jul-18    11:37:24    29-Jun-18    10:06:07     $12.72       $2.39         3,293         $34,011.09
                                                                        35      2-Jul-18    11:36:55    29-Jun-18    10:06:07     $12.69       $2.39         2,407         $24,785.84
                                                                        36      2-Jul-18    11:36:55    29-Jun-18    10:05:53     $12.69       $2.40         7,549         $77,683.74
                                                                        37      3-Jul-18    9:23:52     29-Jun-18    10:05:53     $12.55       $2.40         100           $1,015.06
                                                                        38      2-Jul-18    11:36:18    29-Jun-18    10:05:53     $12.52       $2.40         2,351         $23,787.18
                                                                        39      2-Jul-18    11:36:18    29-Jun-18    10:06:20     $12.52       $2.40         800           $8,093.84
                                                                        40      2-Jul-18    11:36:18    29-Jun-18    10:06:17     $12.52       $2.40         1,800         $18,211.14
                                                                        41      2-Jul-18    11:36:18    29-Jun-18    10:06:17     $12.52       $2.40         1,600         $16,187.68
                                                                        42      2-Jul-18    11:36:18    29-Jun-18    10:06:17     $12.52       $2.40         300           $3,035.19
                                                                        43      2-Jul-18    11:36:18    29-Jun-18    10:06:13     $12.52       $2.40         2,679         $27,104.25
                                                                        44      3-Jul-18    9:23:52     29-Jun-18    10:06:13     $12.50       $2.40         1,433         $14,473.30
                                                                        45      3-Jul-18    9:25:04     29-Jun-18    10:06:13     $12.44       $2.40         1,268         $12,730.72
                                                                        46      3-Jul-18    9:25:04     29-Jun-18    10:06:13     $12.44       $2.40         100           $1,004
                                                                        47      3-Jul-18    9:25:04     29-Jun-18    10:06:13     $12.44       $2.40         100           $1,004
                                                                        48      3-Jul-18    9:25:04     29-Jun-18    10:06:11     $12.44       $2.40         1,200         $12,048
                                                                        49      3-Jul-18    9:25:04     29-Jun-18    10:06:11     $12.44       $2.40         200           $2,008
                                                                        50      3-Jul-18    9:25:04     29-Jun-18    10:06:10     $12.44       $2.40         477           $4,789.08
                                                                        51      2-Jul-18    11:35:40    29-Jun-18    10:06:10     $12.36       $2.40         1,023         $10,190.92
                                                                        52      2-Jul-18    11:35:40    29-Jun-18    10:06:10     $12.36       $2.40         1,500         $14,942.70
                                                                        53      2-Jul-18    11:35:40    29-Jun-18    10:06:08     $12.36       $2.40         4,565         $45,475.62
                                                                        54      3-Jul-18    9:28:15     29-Jun-18    10:06:08     $12.30       $2.40         200           $1,980
                                                                        55      3-Jul-18    9:27:39     29-Jun-18    10:06:08     $12.25       $2.40         3,604         $35,500.48
                                                                        56      3-Jul-18    9:27:39     29-Jun-18    10:06:08     $12.25       $2.40         192           $1,891.26
                                                                        57      2-Jul-18    11:35:17    29-Jun-18    10:06:08     $12.21       $2.40         2,633         $25,817.88
                                                                        58      2-Jul-18    11:35:17    29-Jun-18    10:05:59     $12.21       $2.40         6,000         $58,833
                                                                        59      2-Jul-18    11:35:17    29-Jun-18    10:05:56     $12.21       $2.40         1,948         $19,101.11
                                                                        60      3-Jul-18    9:27:48     29-Jun-18    10:05:56     $12.16       $2.40         252           $2,458.94
                                                                        61      3-Jul-18    9:27:48     29-Jun-18    10:06:23     $12.16       $2.41         3,748         $36,534.38
                                                                        62      3-Jul-18    9:27:52     29-Jun-18    10:06:23     $12.10       $2.41         4,000         $38,769.60
                                                                        63      3-Jul-18    9:29:43     29-Jun-18    10:06:23     $12.10       $2.41         594           $5,755.86
                                                                        64      3-Jul-18    9:27:55     29-Jun-18    10:06:23     $12.00       $2.41         1,658         $15,905.19
                                                                                                                                         2
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        65      3-Jul-18    9:27:55     29-Jun-18    10:13:27     $12.00       $2.46         347           $3,311.42
                                                                        66      3-Jul-18    9:28:04     29-Jun-18    10:13:27     $12.00       $2.46         923           $8,806.25
                                                                        67      3-Jul-18    9:28:04     29-Jun-18    10:13:15     $12.00       $2.46         510           $4,865.86
                                                                        68      2-Jul-18    11:32:32    29-Jun-18    10:13:15     $12          $2.46         100           $954
                                                                        69      3-Jul-18    9:30:11     29-Jun-18    10:13:15     $11.80       $2.46         2,518         $23,518.12
                                                                        70      3-Jul-18    9:30:11     29-Jun-18    10:13:15     $11.80       $2.46         200           $1,868
                                                                        71      3-Jul-18    9:30:10     29-Jun-18    10:13:15     $11.71       $2.46         972           $8,987.11
                                                                        72      3-Jul-18    9:30:10     29-Jun-18    10:10:29     $11.71       $2.46         28            $258.89
                                                                        73      2-Jul-18    11:17:29    29-Jun-18    10:10:29     $11.50       $2.46         6,772         $61,218.88
                                                                        74      2-Jul-18    11:17:29    29-Jun-18    10:13:48     $11.50       $2.47         7,500         $67,704
                                                                        75      2-Jul-18    11:17:29    29-Jun-18    10:10:22     $11.50       $2.49         2,633         $23,730.44
                                                                        76      3-Jul-18    9:30:18     29-Jun-18    10:10:22     $11.45       $2.49         883           $7,914.06
                                                                        77      3-Jul-18    9:30:18     29-Jun-18    10:10:22     $11.45       $2.49         100           $896.27
                                                                        78      3-Jul-18    9:30:15     29-Jun-18    10:10:22     $11.35       $2.49         864           $7,656.77
                                                                        79      3-Jul-18    9:30:15     29-Jun-18    10:10:19     $11.35       $2.49         2,070         $18,334.20
                                                                        80      3-Jul-18    9:30:15     29-Jun-18    10:10:32     $11.35       $2.50         1,066         $9,435.59
                                                                        81      3-Jul-18    9:30:18     29-Jun-18    10:10:32     $11.34       $2.50         1,250         $11,058.25
                                                                        82      3-Jul-18    9:30:18     29-Jun-18    10:10:32     $11.34       $2.50         1,450         $12,815.54
                                                                        83      3-Jul-18    9:30:18     29-Jun-18    10:10:32     $11.33       $2.50         1,200         $10,603.56
                                                                        84      3-Jul-18    9:30:15     29-Jun-18    10:10:32     $11.33       $2.50         271           $2,393.53
                                                                        85      3-Jul-18    9:30:15     29-Jun-18    10:08:05     $11.33       $2.50         928           $8,194.43
                                                                        86      3-Jul-18    9:30:18     29-Jun-18    10:08:05     $11.32       $2.50         1,400         $12,353.60
                                                                        87      3-Jul-18    9:30:15     29-Jun-18    10:08:05     $11.32       $2.50         1,400         $12,342.12
                                                                        88      3-Jul-18    9:30:18     29-Jun-18    10:08:05     $11.31       $2.50         1,504         $13,246.03
                                                                        89      3-Jul-18    9:30:18     29-Jun-18    10:08:05     $11.30       $2.50         1,557         $13,707.67
                                                                        90      3-Jul-18    9:30:18     29-Jun-18    10:08:05     $11.30       $2.50         1,962         $17,270.31
                                                                        91      3-Jul-18    9:30:18     29-Jun-18    10:08:05     $11.29       $2.50         1,249         $10,973.96
                                                                        92      3-Jul-18    9:30:18     29-Jun-18    10:09:05     $11.29       $2.50         300           $2,635.83
                                                                        93      3-Jul-18    9:30:18     29-Jun-18    10:13:02     $11.29       $2.51         598           $5,248.71
                                                                        94      3-Jul-18    9:30:18     29-Jun-18    10:13:02     $11.27       $2.51         2,101         $18,407.91
                                                                        95      3-Jul-18    9:30:18     29-Jun-18    10:13:02     $11.27       $2.51         2,200         $19,269.14
                                                                        96      3-Jul-18    9:30:18     29-Jun-18    10:13:02     $11.25       $2.51         3,756         $32,821.05
                                                                                                                                         3
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        97      3-Jul-18    9:30:18     29-Jun-18    10:13:02     $11.25       $2.51         1,345         $11,749.92
                                                                        98      3-Jul-18    9:30:18     29-Jun-18    10:09:08     $11.25       $2.53         2,300         $20,038.52
                                                                        99      3-Jul-18    9:30:18     29-Jun-18    10:10:11     $11.25       $2.55         355           $3,087.22
                                                                        100     2-Jul-18    11:10:38    29-Jun-18    10:10:11     $11          $2.55         4,542         $38,386.26
                                                                        101     2-Jul-18    11:10:38    29-Jun-18    10:09:24     $11          $2.55         1,800         $15,211.98
                                                                        102     2-Jul-18    11:10:38    29-Jun-18    10:08:41     $11          $2.56         6,123         $51,694.04
                                                                        103     3-Jul-18    9:30:39     29-Jun-18    10:08:41     $10.77       $2.56         1,286         $10,567.45
                                                                        104     3-Jul-18    9:30:39     29-Jun-18    10:12:07     $10.77       $2.57         2,714         $22,271.63
                                                                        105     3-Jul-18    9:30:40     29-Jun-18    10:12:07     $10.74       $2.57         4,000         $32,696
                                                                        106     3-Jul-18    9:30:40     29-Jun-18    10:12:07     $10.74       $2.57         3,991         $32,612.06
                                                                        107     3-Jul-18    9:30:40     29-Jun-18    10:10:48     $10.74       $2.58         9             $73.40
                                                                        108     3-Jul-18    9:30:45     29-Jun-18    10:10:48     $10.68       $2.58         4,000         $32,382.80
                                                                        109     3-Jul-18    9:30:46     29-Jun-18    10:10:48     $10.67       $2.58         4,000         $32,340.40
                                                                        110     3-Jul-18    9:30:45     29-Jun-18    10:10:48     $10.65       $2.58         4,000         $32,280.40
                                                                        111     3-Jul-18    9:30:46     29-Jun-18    10:10:48     $10.63       $2.58         1,390         $11,183.66
                                                                        112     3-Jul-18    9:30:46     29-Jun-18    10:10:48     $10.63       $2.58         900           $7,241.22
                                                                        113     3-Jul-18    9:30:46     29-Jun-18    10:10:48     $10.59       $2.58         4,000         $32,029.60
                                                                        114     3-Jul-18    9:30:59     29-Jun-18    10:10:48     $10.50       $2.58         2,666         $21,103.52
                                                                        115     3-Jul-18    9:30:59     29-Jun-18    10:10:48     $10.50       $2.58         2,431         $19,243.31
                                                                        116     3-Jul-18    9:30:58     29-Jun-18    10:10:48     $10.50       $2.58         2,188         $17,319.77
                                                                        117     2-Jul-18    10:03:11    29-Jun-18    10:10:48     $10.50       $2.58         1,274         $10,084.73
                                                                        118     2-Jul-18    10:03:11    29-Jun-18    10:09:33     $10.50       $2.58         5,100         $40,370.07
                                                                        119     2-Jul-18    10:03:11    29-Jun-18    10:09:45     $10.50       $2.59         1,724         $13,638.91
                                                                        120     2-Jul-18    10:03:11    29-Jun-18    10:09:59     $10.50       $2.59         1,083         $8,566.53
                                                                        121     2-Jul-18    10:03:11    29-Jun-18    10:09:42     $10.50       $2.59         100           $791
                                                                        122     2-Jul-18    10:03:11    29-Jun-18    10:09:30     $10.50       $2.59         593           $4,690.63
                                                                        123     2-Jul-18    10:03:11    29-Jun-18    10:08:52     $10.50       $2.59         1,691         $13,375.81
                                                                        124     2-Jul-18    10:03:11    29-Jun-18    10:08:45     $10.50       $2.59         100           $791
                                                                        125     2-Jul-18    10:03:11    29-Jun-18    10:14:55     $10.50       $2.60         4,197         $33,170.15
                                                                        126     3-Jul-18    9:30:59     29-Jun-18    10:14:55     $10.42       $2.60         4,000         $31,293.60
                                                                        127     2-Jul-18    10:03:11    29-Jun-18    10:14:55     $10.38       $2.60         1,503         $11,702.96
                                                                        128     2-Jul-18    10:03:11    29-Jun-18    10:15:04     $10.38       $2.60         5,800         $45,148.94
                                                                                                                                         4
                                                                        NEW CONCEPT (GBR) PROFIT CALCULATIONS
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        129     2-Jul-18    10:03:11    29-Jun-18    10:15:16     $10.38       $2.60         198           $1,541.05
                                                                        130     2-Jul-18    10:03:11    29-Jun-18    10:12:05     $10.38       $2.60         1,812         $14,102.98
                                                                        131     3-Jul-18    9:31:02     29-Jun-18    10:12:05     $10.36       $2.60         1,768         $13,712.08
                                                                        132     2-Jul-18    9:43:41     29-Jun-18    10:12:05     $10.25       $2.60         5,933         $45,387.45
                                                                        133     3-Jul-18    9:31:03     29-Jun-18    10:12:05     $10.17       $2.60         700           $5,296.97
                                                                        134     2-Jul-18    9:43:41     29-Jun-18    10:12:05     $10.15       $2.60         2,100         $15,861.09
                                                                        135     3-Jul-18    9:31:05     29-Jun-18    10:12:05     $10.15       $2.60         212           $1,600.73
                                                                        136     3-Jul-18    9:31:04     29-Jun-18    10:12:05     $10.15       $2.60         1,000         $7,550
                                                                        137     3-Jul-18    9:31:04     29-Jun-18    10:12:05     $10.15       $2.60         476           $3,593.80
                                                                        138     3-Jul-18    9:31:04     29-Jun-18    10:12:01     $10.15       $2.60         124           $936.20
                                                                        139     2-Jul-18    9:43:41     29-Jun-18    10:12:01     $10.10       $2.60         1,450         $10,875
                                                                        140     2-Jul-18    9:43:47     29-Jun-18    10:12:01     $10          $2.60         5,153         $38,132.20
                                                                        141     2-Jul-18    9:43:47     29-Jun-18    10:11:12     $10          $2.60         3,847         $28,467.80
                                                                        142     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        143     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        144     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        145     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        146     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        147     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        148     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        149     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        150     3-Jul-18    9:31:08     29-Jun-18    10:11:12     $9.99        $2.60         100           $739
                                                                        151     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.91        $2.60         100           $731
                                                                        152     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.91        $2.60         25            $182.75
                                                                        153     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.90        $2.60         800           $5,840
                                                                        154     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.90        $2.60         800           $5,840
                                                                        155     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.90        $2.60         800           $5,840
                                                                        156     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.90        $2.60         700           $5,110
                                                                        157     3-Jul-18    9:31:09     29-Jun-18    10:11:12     $9.90        $2.60         420           $3,066
                                                                        158     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         280           $2,042.26
                                                                        159     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        160     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                                                                                         5
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        161     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        162     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        163     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        164     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        165     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        166     3-Jul-18    9:31:09     29-Jun-18    10:15:08     $9.90        $2.61         700           $5,105.66
                                                                        167     3-Jul-18    9:31:10     29-Jun-18    10:15:08     $9.87        $2.61         4,000         $29,055.20
                                                                        168     3-Jul-18    9:31:10     29-Jun-18    10:15:08     $9.87        $2.61         220           $1,598.04
                                                                        169     3-Jul-18    9:31:10     29-Jun-18    10:12:06     $9.87        $2.61         3,780         $27,457.16
                                                                        170     3-Jul-18    9:31:10     29-Jun-18    10:12:06     $9.87        $2.61         2,600         $18,885.88
                                                                        171     3-Jul-18    9:31:10     29-Jun-18    10:12:06     $9.87        $2.61         300           $2,179.14
                                                                        172     3-Jul-18    9:31:10     29-Jun-18    10:12:06     $9.87        $2.61         300           $2,179.14
                                                                        173     3-Jul-18    9:31:06     29-Jun-18    10:12:06     $9.87        $2.61         2,194         $15,932.83
                                                                        174     3-Jul-18    9:31:08     29-Jun-18    10:12:06     $9.85        $2.61         826           $5,982.80
                                                                        175     3-Jul-18    9:31:08     29-Jun-18    10:15:10     $9.85        $2.61         2             $14.49
                                                                        176     3-Jul-18    9:31:09     29-Jun-18    10:15:10     $9.84        $2.61         600           $4,342.20
                                                                        177     3-Jul-18    9:31:09     29-Jun-18    10:15:10     $9.84        $2.61         702           $5,079.04
                                                                        178     3-Jul-18    9:31:09     29-Jun-18    10:15:10     $9.84        $2.61         700           $5,064.57
                                                                        179     3-Jul-18    9:31:09     29-Jun-18    10:15:10     $9.83        $2.61         3,251         $23,492.38
                                                                        180     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         2,100         $15,169.77
                                                                        181     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        182     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        183     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        184     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        185     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        186     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        187     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        188     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        189     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         300           $2,167.11
                                                                        190     3-Jul-18    9:31:12     29-Jun-18    10:15:10     $9.83        $2.61         45            $325.07
                                                                        191     3-Jul-18    9:31:12     29-Jun-18    10:12:09     $9.83        $2.61         155           $1,119.10
                                                                        192     3-Jul-18    9:31:08     29-Jun-18    10:12:09     $9.81        $2.61         200           $1,440
                                                                                                                                         6
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        193     3-Jul-18    9:31:08     29-Jun-18    10:12:09     $9.81        $2.61         200           $1,440
                                                                        194     3-Jul-18    9:31:08     29-Jun-18    10:12:09     $9.81        $2.61         200           $1,440
                                                                        195     3-Jul-18    9:31:08     29-Jun-18    10:12:09     $9.81        $2.61         200           $1,440
                                                                        196     3-Jul-18    9:31:08     29-Jun-18    10:12:09     $9.81        $2.61         200           $1,440
                                                                        197     3-Jul-18    9:31:15     29-Jun-18    10:12:09     $9.81        $2.61         45            $323.90
                                                                        198     3-Jul-18    9:31:15     29-Jun-18    10:15:17     $9.81        $2.62         939           $6,751.13
                                                                        199     3-Jul-18    9:31:16     29-Jun-18    10:15:17     $9.77        $2.62         2,203         $15,744.62
                                                                        200     3-Jul-18    9:31:16     29-Jun-18    10:15:17     $9.76        $2.62         200           $1,427.38
                                                                        201     3-Jul-18    9:31:08     29-Jun-18    10:15:17     $9.75        $2.62         305           $2,174.62
                                                                        202     3-Jul-18    9:31:08     29-Jun-18    10:15:17     $9.73        $2.62         350           $2,490.18
                                                                        203     3-Jul-18    9:31:16     29-Jun-18    10:15:17     $9.66        $2.62         3,800         $26,763.78
                                                                        204     3-Jul-18    9:31:16     29-Jun-18    10:15:17     $9.66        $2.62         2,303         $16,215.65
                                                                        205     3-Jul-18    9:31:16     29-Jun-18    10:15:18     $9.66        $2.62         297           $2,089.25
                                                                        206     3-Jul-18    9:31:08     29-Jun-18    10:15:18     $9.66        $2.62         1,330         $9,353.09
                                                                        207     3-Jul-18    9:31:16     29-Jun-18    10:15:18     $9.65        $2.62         712           $5,004.58
                                                                        208     3-Jul-18    9:31:16     29-Jun-18    10:12:13     $9.65        $2.64         388           $2,719.69
                                                                        209     3-Jul-18    9:31:16     29-Jun-18    10:12:13     $9.65        $2.64         500           $3,502.95
                                                                        210     3-Jul-18    9:31:16     29-Jun-18    10:12:13     $9.65        $2.64         300           $2,101.77
                                                                        211     3-Jul-18    9:31:21     29-Jun-18    10:12:13     $9.61        $2.64         4,000         $27,849.60
                                                                        212     3-Jul-18    9:31:42     29-Jun-18    10:12:13     $9.59        $2.64         66            $458.57
                                                                        213     3-Jul-18    9:31:42     29-Jun-18    10:15:21     $9.59        $2.65         3,934         $27,317.30
                                                                        214     3-Jul-18    9:31:17     29-Jun-18    10:15:21     $9.59        $2.65         4,000         $27,768
                                                                        215     3-Jul-18    9:32:07     29-Jun-18    10:15:21     $9.55        $2.65         100           $690.17
                                                                        216     3-Jul-18    9:32:05     29-Jun-18    10:15:21     $9.55        $2.65         200           $1,380.34
                                                                        217     3-Jul-18    9:32:04     29-Jun-18    10:15:21     $9.55        $2.65         300           $2,070.51
                                                                        218     3-Jul-18    9:31:22     29-Jun-18    10:15:21     $9.55        $2.65         1,566         $10,806.65
                                                                        219     3-Jul-18    9:31:22     29-Jun-18    10:12:14     $9.55        $2.65         2,434         $16,795.57
                                                                        220     3-Jul-18    9:31:22     29-Jun-18    10:12:14     $9.55        $2.65         4,000         $27,597.20
                                                                        221     3-Jul-18    9:32:07     29-Jun-18    10:12:14     $9.54        $2.65         230           $1,585
                                                                        222     3-Jul-18    9:32:07     29-Jun-18    10:12:14     $9.54        $2.65         100           $689.13
                                                                        223     3-Jul-18    9:31:22     29-Jun-18    10:12:14     $9.53        $2.65         3,236         $22,276.30
                                                                        224     3-Jul-18    9:31:22     29-Jun-18    10:12:24     $9.53        $2.65         13            $89.49
                                                                                                                                         7
                                                                        Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                        225     3-Jul-18    9:32:09     29-Jun-18    10:12:24     $9.52        $2.65         100           $687.10
                                                                        226     3-Jul-18    9:31:43     29-Jun-18    10:12:24     $9.51        $2.65         1,936         $13,285.41
                                                                        227     3-Jul-18    9:31:43     29-Jun-18    10:15:22     $9.51        $2.65         2,064         $14,162.55
                                                                        228     3-Jul-18    9:31:43     29-Jun-18    10:15:22     $9.51        $2.65         1,796         $12,313.02
                                                                        229     3-Jul-18    9:31:43     29-Jun-18    10:15:45     $9.51        $2.65         300           $2,056.62
                                                                        230     3-Jul-18    9:31:43     29-Jun-18    10:15:45     $9.51        $2.68         700           $4,777.78
                                                                        231     3-Jul-18    9:31:43     29-Jun-18    10:15:26     $9.51        $2.68         1,204         $8,217.78
                                                                        232     3-Jul-18    9:31:22     29-Jun-18    10:15:26     $9.50        $2.68         2,696         $18,386.72
                                                                        233     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.50        $2.68         1,304         $8,893.28
                                                                        234     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.50        $2.68         349           $2,380.18
                                                                        235     3-Jul-18    9:32:09     29-Jun-18    10:15:25     $9.45        $2.68         780           $5,280.83
                                                                        236     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.45        $2.68         100           $677
                                                                        237     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.42        $2.68         1,300         $8,766.03
                                                                        238     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.42        $2.68         500           $3,370
                                                                        239     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.42        $2.68         300           $2,022
                                                                        240     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.42        $2.68         300           $2,022
                                                                        241     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.42        $2.68         100           $674
                                                                        242     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.42        $2.68         100           $674
                                                                        243     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.42        $2.68         1,850         $12,469
                                                                        244     3-Jul-18    9:31:22     29-Jun-18    10:15:25     $9.39        $2.68         1,552         $10,406.47
                                                                        245     3-Jul-18    9:31:23     29-Jun-18    10:15:25     $9.38        $2.68         1,250         $8,378.50
                                                                        246     3-Jul-18    9:31:43     29-Jun-18    10:15:25     $9.38        $2.68         315           $2,111.22
                                                                        247     3-Jul-18    9:31:43     29-Jun-18    10:15:45     $9.38        $2.71         3,685         $24,583.74
                                                                        248     3-Jul-18    9:31:23     29-Jun-18    10:15:45     $9.38        $2.71         637           $4,249.62
                                                                        249     3-Jul-18    9:31:23     29-Jun-18    10:15:37     $9.38        $2.72         663           $4,418.70
                                                                        250     3-Jul-18    9:32:09     29-Jun-18    10:15:37     $9.38        $2.72         600           $3,997.44
                                                                        251     3-Jul-18    9:31:44     29-Jun-18    10:15:37     $9.38        $2.72         1,375         $9,160.25
                                                                        252     3-Jul-18    9:31:44     29-Jun-18    10:15:42     $9.38        $2.72         1,200         $7,991.52
                                                                        253     3-Jul-18    9:31:44     29-Jun-18    10:15:46     $9.38        $2.73         1,425         $9,481.24
                                                                        254     3-Jul-18    9:31:45     29-Jun-18    10:15:46     $9.37        $2.73         4,000         $26,575.60
                                                                        255     3-Jul-18    9:31:45     29-Jun-18    10:15:46     $9.37        $2.73         4,000         $26,575.60
                                                                        256     3-Jul-18    9:31:44     29-Jun-18    10:15:46     $9.37        $2.73         175           $1,162.68
                                                                                                                                         8
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         257     3-Jul-18    9:31:44     29-Jun-18    10:15:44     $9.37        $2.73         3,825         $25,407.56
                                                                         258     3-Jul-18    9:31:27     29-Jun-18    10:15:44     $9.37        $2.73         1,276         $8,475.83
                                                                         259     3-Jul-18    9:31:27     29-Jun-18    10:15:44     $9.37        $2.73         600           $3,985.50
                                                                         260     3-Jul-18    9:31:27     29-Jun-18    10:15:44     $9.37        $2.73         500           $3,321.25
                                                                         261     3-Jul-18    9:31:23     29-Jun-18    10:15:44     $9.37        $2.73         3,899         $25,899.11
                                                                         262     3-Jul-18    9:31:23     29-Jun-18    10:15:47     $9.37        $2.73         101           $670.85
                                                                         263     3-Jul-18    9:31:23     29-Jun-18    10:15:47     $9.37        $2.73         900           $5,977.89
                                                                         264     3-Jul-18    9:31:23     29-Jun-18    10:15:47     $9.37        $2.73         600           $3,985.26
                                                                         265     3-Jul-18    9:31:23     29-Jun-18    10:15:47     $9.37        $2.73         500           $3,321.05
                                                                         266     3-Jul-18    9:31:46     29-Jun-18    10:15:47     $9.35        $2.73         4,000         $26,472
                                                                         267     3-Jul-18    9:31:44     29-Jun-18    10:15:47     $9.34        $2.73         1,586         $10,491.71
                                                                         268     3-Jul-18    9:31:44     29-Jun-18    10:16:00     $9.34        $2.73         2,414         $15,965.71
                                                                         269     3-Jul-18    9:31:24     29-Jun-18    10:16:00     $9.34        $2.73         2,713         $17,937.54
                                                                         270     3-Jul-18    9:31:24     29-Jun-18    10:15:45     $9.34        $2.73         1,287         $8,509.13
                                                                         271     3-Jul-18    9:31:23     29-Jun-18    10:15:45     $9.34        $2.73         4,000         $26,443.60
                                                                         272     3-Jul-18    9:31:24     29-Jun-18    10:15:45     $9.34        $2.73         4,000         $26,442.40
                                                                         273     3-Jul-18    9:31:24     29-Jun-18    10:15:45     $9.34        $2.73         813           $5,374.42
                                                                         274     3-Jul-18    9:31:24     29-Jun-18    10:20:46     $9.34        $2.73         1,275         $8,427.75
                                                                         275     3-Jul-18    9:31:24     29-Jun-18    10:20:46     $9.34        $2.73         400           $2,644
                                                                         276     3-Jul-18    9:31:24     29-Jun-18    10:16:03     $9.34        $2.73         1,512         $9,994.32
                                                                         277     3-Jul-18    9:31:24     29-Jun-18    10:16:03     $9.34        $2.73         2,288         $15,123.68
                                                                         278     3-Jul-18    9:31:24     29-Jun-18    10:16:03     $9.34        $2.73         1,457         $9,630.77
                                                                         279     3-Jul-18    9:31:24     29-Jun-18    10:16:01     $9.34        $2.73         255           $1,685.55
                                                                         280     3-Jul-18    9:31:24     29-Jun-18    10:16:01     $9.34        $2.73         4,000         $26,440
                                                                         281     3-Jul-18    9:32:10     29-Jun-18    10:16:01     $9.32        $2.73         700           $4,613
                                                                         282     3-Jul-18    9:31:29     29-Jun-18    10:16:01     $9.28        $2.73         1,126         $7,379.80
                                                                         283     3-Jul-18    9:31:29     29-Jun-18    10:15:52     $9.28        $2.73         2,413         $15,814.80
                                                                         284     3-Jul-18    9:31:29     29-Jun-18    10:34:06     $9.28        $2.79         461           $2,992.63
                                                                         285     3-Jul-18    9:31:29     29-Jun-18    10:34:06     $9.27        $2.79         4,000         $25,925.60
                                                                         286     3-Jul-18    9:33:05     29-Jun-18    10:34:06     $9.25        $2.79         4,000         $25,830.40
                                                                         287     3-Jul-18    9:33:05     29-Jun-18    10:34:06     $9.25        $2.79         1,539         $9,938.25
                                                                         288     3-Jul-18    9:33:05     29-Jun-18    10:34:07     $9.25        $2.80         2,461         $15,874.43
                                                                                                                                          9
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         289     3-Jul-18    9:31:46     29-Jun-18    10:34:07     $9.24        $2.80         4,000         $25,745.60
                                                                         290     3-Jul-18    9:31:29     29-Jun-18    10:34:07     $9.23        $2.80         2,781         $17,894.34
                                                                         291     3-Jul-18    9:31:29     29-Jun-18    10:22:34     $9.23        $2.90         1,087         $6,889.84
                                                                         292     3-Jul-18    9:31:29     29-Jun-18    10:22:34     $9.23        $2.90         2,521         $15,972.80
                                                                         293     3-Jul-18    9:31:29     29-Jun-18    10:22:34     $9.23        $2.90         4,000         $25,337.20
                                                                         294     3-Jul-18    9:31:29     29-Jun-18    10:22:34     $9.23        $2.90         2,025         $12,826.96
                                                                         295     3-Jul-18    9:33:14     29-Jun-18    10:22:34     $9.21        $2.90         467           $2,950.37
                                                                         296     3-Jul-18    9:33:14     29-Jun-18    10:22:42     $9.21        $2.90         3,533         $22,301
                                                                         297     3-Jul-18    9:31:46     29-Jun-18    10:22:42     $9.21        $2.90         4,000         $25,219.20
                                                                         298     3-Jul-18    9:31:47     29-Jun-18    10:22:42     $9.20        $2.90         2,267         $14,287.31
                                                                         299     3-Jul-18    9:31:47     29-Jun-18    10:22:42     $9.20        $2.91         1,733         $10,908.89
                                                                         300     3-Jul-18    9:33:15     29-Jun-18    10:22:42     $9.20        $2.91         3,601         $22,662.17
                                                                         301     3-Jul-18    9:33:00     29-Jun-18    10:22:42     $9.20        $2.91         4,000         $25,165.20
                                                                         302     3-Jul-18    9:32:10     29-Jun-18    10:22:42     $9.19        $2.91         390           $2,447.80
                                                                         303     3-Jul-18    9:32:10     29-Jun-18    10:22:42     $9.18        $2.91         376           $2,358.01
                                                                         304     3-Jul-18    9:32:10     29-Jun-18    10:35:50     $9.18        $2.93         724           $4,527.32
                                                                         305     3-Jul-18    9:32:10     29-Jun-18    10:35:50     $9.18        $2.93         300           $1,875.96
                                                                         306     3-Jul-18    9:32:58     29-Jun-18    10:35:50     $9.16        $2.93         2,098         $13,079.98
                                                                         307     3-Jul-18    9:32:58     29-Jun-18    10:23:05     $9.16        $2.94         1,902         $11,834.62
                                                                         308     3-Jul-18    9:31:29     29-Jun-18    10:23:05     $9.16        $2.94         4,000         $24,872
                                                                         309     3-Jul-18    9:33:15     29-Jun-18    10:23:05     $9.15        $2.94         2,300         $14,288.06
                                                                         310     3-Jul-18    9:33:16     29-Jun-18    10:23:05     $9.15        $2.94         200           $1,242.18
                                                                         311     3-Jul-18    9:33:16     29-Jun-18    10:23:05     $9.15        $2.94         100           $621.09
                                                                         312     3-Jul-18    9:33:15     29-Jun-18    10:23:05     $9.15        $2.94         50            $310.54
                                                                         313     3-Jul-18    9:32:49     29-Jun-18    10:23:05     $9.15        $2.94         1,548         $9,614.47
                                                                         314     3-Jul-18    9:32:49     29-Jun-18    10:35:52     $9.15        $2.95         2,452         $15,207.79
                                                                         315     3-Jul-18    9:33:43     29-Jun-18    10:35:52     $9.12        $2.95         1,885         $11,634.60
                                                                         316     3-Jul-18    9:33:37     29-Jun-18    10:35:52     $9.12        $2.95         3,079         $19,004.20
                                                                         317     3-Jul-18    9:32:54     29-Jun-18    10:35:52     $9.11        $2.95         2,584         $15,920.02
                                                                         318     3-Jul-18    9:32:54     29-Jun-18    10:35:53     $9.11        $2.95         1,416         $8,722.56
                                                                         319     3-Jul-18    9:32:13     29-Jun-18    10:35:53     $9.08        $2.95         1,966         $12,053.94
                                                                         320     3-Jul-18    9:32:13     29-Jun-18    10:35:53     $9.08        $2.95         1,600         $9,809.92
                                                                                                                                         10
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         321     3-Jul-18    9:32:12     29-Jun-18    10:35:53     $9.08        $2.95         509           $3,120.78
                                                                         322     3-Jul-18    9:32:12     29-Jun-18    10:23:14     $9.08        $2.96         2,825         $17,281.09
                                                                         323     3-Jul-18    9:33:37     29-Jun-18    10:23:14     $9.07        $2.96         4,000         $24,434.80
                                                                         324     3-Jul-18    9:32:48     29-Jun-18    10:23:14     $9.06        $2.96         3,275         $19,956.21
                                                                         325     3-Jul-18    9:32:48     29-Jun-18    10:23:14     $9.06        $2.97         725           $4,413.94
                                                                         326     3-Jul-18    9:33:23     29-Jun-18    10:23:14     $9.05        $2.97         100           $608.19
                                                                         327     3-Jul-18    9:33:34     29-Jun-18    10:23:14     $9.02        $2.97         4,000         $24,218
                                                                         328     3-Jul-18    9:32:47     29-Jun-18    10:23:14     $9.01        $2.97         4,000         $24,183.60
                                                                         329     3-Jul-18    9:32:47     29-Jun-18    10:23:14     $9           $2.97         1,275         $7,690.67
                                                                         330     3-Jul-18    9:32:47     29-Jun-18    10:23:15     $9           $2.99         2,725         $16,390.60
                                                                         331     3-Jul-18    9:33:45     29-Jun-18    10:23:15     $8.98        $2.99         100           $599.49
                                                                         332     3-Jul-18    9:33:27     29-Jun-18    10:23:15     $8.97        $2.99         4,000         $23,939.60
                                                                         333     3-Jul-18    9:32:18     29-Jun-18    10:23:15     $8.95        $2.99         3,275         $19,545.86
                                                                         334     3-Jul-18    9:32:18     29-Jun-18    10:35:58     $8.95        $3.00         325           $1,936.42
                                                                         335     3-Jul-18    9:32:44     29-Jun-18    10:35:58     $8.95        $3.00         4,000         $23,828.40
                                                                         336     3-Jul-18    9:32:44     29-Jun-18    10:35:58     $8.95        $3.00         4,000         $23,819.60
                                                                         337     3-Jul-18    9:32:18     29-Jun-18    10:35:58     $8.90        $3.00         1,675         $9,894.39
                                                                         338     3-Jul-18    9:32:18     29-Jun-18    10:23:15     $8.90        $3.00         425           $2,509.71
                                                                         339     3-Jul-18    9:32:18     29-Jun-18    10:23:15     $8.90        $3.00         2,200         $12,988.80
                                                                         340     3-Jul-18    9:32:37     29-Jun-18    10:23:15     $8.90        $3.00         4,000         $23,613.20
                                                                         341     3-Jul-18    9:32:37     29-Jun-18    10:23:15     $8.90        $3.00         3,475         $20,512.92
                                                                         342     3-Jul-18    9:32:37     29-Jun-18    10:23:17     $8.90        $3.00         525           $3,097.82
                                                                         343     3-Jul-18    9:32:37     29-Jun-18    10:23:17     $8.90        $3.00         2,709         $15,984.73
                                                                         344     3-Jul-18    9:32:37     29-Jun-18    10:23:16     $8.90        $3.00         1,291         $7,617.55
                                                                         345     3-Jul-18    9:32:37     29-Jun-18    10:23:16     $8.90        $3.00         4,000         $23,602
                                                                         346     3-Jul-18    9:32:18     29-Jun-18    10:23:16     $8.89        $3.00         500           $2,944.35
                                                                         347     3-Jul-18    9:32:18     29-Jun-18    10:23:16     $8.88        $3.00         100           $588.05
                                                                         348     3-Jul-18    9:32:19     29-Jun-18    10:23:16     $8.87        $3.00         100           $587.05
                                                                         349     3-Jul-18    9:32:37     29-Jun-18    10:23:16     $8.85        $3.00         4,000         $23,404
                                                                         350     3-Jul-18    9:32:37     29-Jun-18    10:23:16     $8.85        $3.00         109           $637.74
                                                                         351     3-Jul-18    9:32:37     29-Jun-18    10:36:08     $8.85        $3.00         3,891         $22,752.62
                                                                         352     3-Jul-18    9:32:37     29-Jun-18    10:36:08     $8.85        $3.00         4,000         $23,388.80
                                                                                                                                         11
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         353     3-Jul-18    9:32:36     29-Jun-18    10:36:08     $8.85        $3.00         2,109         $12,331.74
                                                                         354     3-Jul-18    9:32:36     29-Jun-18    10:36:07     $8.85        $3.01         1,891         $11,047.41
                                                                         355     3-Jul-18    9:36:17     29-Jun-18    10:36:07     $8.85        $3.01         1,050         $6,134.20
                                                                         356     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.84        $3.01         200           $1,166.42
                                                                         357     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.82        $3.01         23            $133.68
                                                                         358     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         1,000         $5,802.10
                                                                         359     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         400           $2,320.84
                                                                         360     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         300           $1,740.63
                                                                         361     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         200           $1,160.42
                                                                         362     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         200           $1,160.42
                                                                         363     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         200           $1,160.42
                                                                         364     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         100           $580.21
                                                                         365     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         100           $580.21
                                                                         366     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         100           $580.21
                                                                         367     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         100           $580.21
                                                                         368     3-Jul-18    9:32:19     29-Jun-18    10:36:07     $8.81        $3.01         70            $406.15
                                                                         369     3-Jul-18    9:36:13     29-Jun-18    10:36:07     $8.80        $3.01         4,000         $23,174.40
                                                                         370     3-Jul-18    9:32:35     29-Jun-18    10:36:07     $8.80        $3.01         66            $382.28
                                                                         371     3-Jul-18    9:32:35     29-Jun-18    10:37:02     $8.80        $3.04         3,024         $17,407.66
                                                                         372     3-Jul-18    9:32:34     29-Jun-18    10:37:02     $8.80        $3.04         4,000         $23,026
                                                                         373     3-Jul-18    9:32:31     29-Jun-18    10:37:02     $8.80        $3.04         2,976         $17,131.34
                                                                         374     3-Jul-18    9:32:31     29-Jun-18    10:37:02     $8.80        $3.05         1,024         $5,891.48
                                                                         375     3-Jul-18    9:32:31     29-Jun-18    10:37:02     $8.80        $3.05         4,000         $23,013.60
                                                                         376     3-Jul-18    9:32:29     29-Jun-18    10:37:02     $8.80        $3.05         4,000         $23,013.60
                                                                         377     3-Jul-18    9:32:29     29-Jun-18    10:37:02     $8.80        $3.05         976           $5,615.32
                                                                         378     3-Jul-18    9:32:29     29-Jun-18    10:48:57     $8.80        $3.16         2,700         $15,228
                                                                         379     3-Jul-18    9:32:29     29-Jun-18    10:45:20     $8.80        $3.16         324           $1,827.36
                                                                         380     3-Jul-18    9:32:28     29-Jun-18    10:45:20     $8.80        $3.16         2,376         $13,400.64
                                                                         381     3-Jul-18    9:32:28     29-Jun-18    10:45:27     $8.80        $3.19         1,624         $9,106.90
                                                                         382     3-Jul-18    9:32:28     29-Jun-18    10:45:27     $8.80        $3.19         948           $5,316.10
                                                                         383     3-Jul-18    9:32:28     29-Jun-18    10:48:57     $8.80        $3.20         28            $156.80
                                                                         384     3-Jul-18    9:32:28     29-Jun-18    10:45:30     $8.80        $3.21         2,700         $15,083.55
                                                                                                                                         12
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         385     3-Jul-18    9:32:28     29-Jun-18    10:45:32     $8.80        $3.22         324           $1,808.92
                                                                         386     3-Jul-18    9:32:20     29-Jun-18    10:45:32     $8.80        $3.22         1,800         $10,049.58
                                                                         387     3-Jul-18    9:32:20     29-Jun-18    10:45:32     $8.78        $3.22         200           $1,112.62
                                                                         388     3-Jul-18    9:32:20     29-Jun-18    10:45:32     $8.78        $3.22         45            $250.34
                                                                         389     3-Jul-18    9:34:01     29-Jun-18    10:45:32     $8.76        $3.22         331           $1,834.77
                                                                         390     3-Jul-18    9:34:01     29-Jun-18    10:45:33     $8.76        $3.22         2,700         $14,965.02
                                                                         391     3-Jul-18    9:34:01     29-Jun-18    10:45:33     $8.76        $3.23         969           $5,360.22
                                                                         392     3-Jul-18    9:36:12     29-Jun-18    10:45:33     $8.75        $3.23         1,731         $9,558.06
                                                                         393     3-Jul-18    9:36:12     29-Jun-18    10:45:35     $8.75        $3.23         2,269         $12,525.33
                                                                         394     3-Jul-18    9:33:53     29-Jun-18    10:45:35     $8.75        $3.23         431           $2,379.21
                                                                         395     3-Jul-18    9:33:53     29-Jun-18    10:45:43     $8.75        $3.23         1,515         $8,362.80
                                                                         396     3-Jul-18    9:33:53     29-Jun-18    14:10:04     $8.75        $3.24         100           $551
                                                                         397     3-Jul-18    9:33:53     29-Jun-18    10:45:53     $8.75        $3.25         1,954         $10,754.03
                                                                         398     3-Jul-18    9:36:13     29-Jun-18    10:45:53     $8.75        $3.25         746           $4,102.70
                                                                         399     3-Jul-18    9:36:13     29-Jun-18    14:10:04     $8.75        $3.25         100           $549.60
                                                                         400     3-Jul-18    9:36:13     29-Jun-18    10:46:08     $8.75        $3.25         2,154         $11,838.38
                                                                         401     3-Jul-18    9:36:12     29-Jun-18    10:46:08     $8.74        $3.25         546           $2,997.54
                                                                         402     3-Jul-18    9:36:12     29-Jun-18    10:46:49     $8.74        $3.25         954           $5,237.17
                                                                         403     3-Jul-18    9:36:27     29-Jun-18    10:46:49     $8.71        $3.25         300           $1,637.91
                                                                         404     3-Jul-18    9:33:54     29-Jun-18    10:46:49     $8.70        $3.25         1,446         $7,880.99
                                                                         405     3-Jul-18    9:33:54     29-Jun-18    14:10:04     $8.70        $3.26         300           $1,632.15
                                                                         406     3-Jul-18    9:33:54     29-Jun-18    10:46:11     $8.70        $3.26         2,254         $12,252.97
                                                                         407     3-Jul-18    9:36:27     29-Jun-18    10:46:11     $8.70        $3.26         446           $2,424.28
                                                                         408     3-Jul-18    9:36:27     29-Jun-18    10:46:50     $8.70        $3.27         1,854         $10,072.97
                                                                         409     3-Jul-18    9:33:54     29-Jun-18    10:46:50     $8.70        $3.27         846           $4,596.40
                                                                         410     3-Jul-18    9:33:54     29-Jun-18    10:46:51     $8.70        $3.27         54            $293.32
                                                                         411     3-Jul-18    9:32:20     29-Jun-18    10:46:51     $8.69        $3.27         1,720         $9,326.36
                                                                         412     3-Jul-18    9:32:21     29-Jun-18    10:46:51     $8.68        $3.27         500           $2,705.90
                                                                         413     3-Jul-18    9:32:21     29-Jun-18    10:46:51     $8.68        $3.27         400           $2,164.72
                                                                         414     3-Jul-18    9:32:21     29-Jun-18    10:46:51     $8.68        $3.27         26            $140.71
                                                                         415     3-Jul-18    9:32:21     29-Jun-18    10:46:04     $8.68        $3.27         374           $2,023.60
                                                                         416     3-Jul-18    9:33:54     29-Jun-18    10:46:04     $8.65        $3.27         1,100         $5,920.75
                                                                                                                                         13
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         417     3-Jul-18    9:36:10     29-Jun-18    10:46:04     $8.65        $3.27         1,226         $6,596.74
                                                                         418     3-Jul-18    9:36:10     29-Jun-18    10:48:54     $8.65        $3.27         534           $2,872.92
                                                                         419     3-Jul-18    9:36:06     29-Jun-18    10:48:54     $8.65        $3.27         642           $3,453.96
                                                                         420     3-Jul-18    9:36:06     29-Jun-18    14:10:04     $8.65        $3.27         494           $2,657.72
                                                                         421     3-Jul-18    9:36:06     29-Jun-18    10:46:51     $8.65        $3.27         1,001         $5,385.38
                                                                         422     3-Jul-18    9:36:06     29-Jun-18    14:10:04     $8.65        $3.28         950           $5,101.50
                                                                         423     3-Jul-18    9:36:06     29-Jun-18    14:10:04     $8.65        $3.29         13            $69.70
                                                                         424     3-Jul-18    9:35:24     29-Jun-18    14:10:04     $8.65        $3.29         4,000         $21,446.40
                                                                         425     3-Jul-18    9:34:09     29-Jun-18    14:10:04     $8.63        $3.29         130           $694.41
                                                                         426     3-Jul-18    9:34:09     29-Jun-18    14:10:04     $8.63        $3.29         20            $106.80
                                                                         427     3-Jul-18    9:34:07     29-Jun-18    14:10:04     $8.63        $3.29         300           $1,602
                                                                         428     3-Jul-18    9:34:06     29-Jun-18    14:10:04     $8.63        $3.29         1,050         $5,607
                                                                         429     3-Jul-18    9:34:05     29-Jun-18    14:10:04     $8.63        $3.29         80            $427.20
                                                                         430     3-Jul-18    9:34:05     29-Jun-18    10:49:40     $8.63        $3.29         870           $4,644.23
                                                                         431     3-Jul-18    9:35:55     29-Jun-18    10:49:40     $8.60        $3.29         430           $2,283.99
                                                                         432     3-Jul-18    9:35:55     29-Jun-18    14:36:56     $8.60        $3.30         461           $2,444.87
                                                                         433     3-Jul-18    9:33:54     29-Jun-18    14:36:56     $8.60        $3.30         139           $737.09
                                                                         434     3-Jul-18    9:33:54     29-Jun-18    14:10:22     $8.60        $3.30         3,861         $20,474.11
                                                                         435     3-Jul-18    9:35:24     29-Jun-18    14:10:22     $8.60        $3.30         3,260         $17,284.85
                                                                         436     3-Jul-18    9:36:06     29-Jun-18    14:10:22     $8.60        $3.30         2,959         $15,688.62
                                                                         437     3-Jul-18    9:34:09     29-Jun-18    14:10:22     $8.60        $3.30         300           $1,590.51
                                                                         438     3-Jul-18    9:35:43     29-Jun-18    14:10:22     $8.60        $3.30         640           $3,392
                                                                         439     3-Jul-18    9:33:54     29-Jun-18    14:10:22     $8.59        $3.30         2,716         $14,367.64
                                                                         440     3-Jul-18    9:33:54     29-Jun-18    14:10:05     $8.59        $3.30         1,284         $6,792.36
                                                                         441     3-Jul-18    9:35:59     29-Jun-18    14:10:05     $8.58        $3.30         5,000         $26,410
                                                                         442     3-Jul-18    9:35:54     29-Jun-18    14:10:05     $8.58        $3.30         396           $2,090.88
                                                                         443     3-Jul-18    9:35:54     29-Jun-18    14:28:47     $8.58        $3.33         190           $997.50
                                                                         444     3-Jul-18    9:35:54     29-Jun-18    14:28:48     $8.58        $3.34         3,000         $15,730.80
                                                                         445     3-Jul-18    9:35:54     29-Jun-18    10:49:54     $8.58        $3.34         414           $2,168.49
                                                                         446     3-Jul-18    9:34:10     29-Jun-18    10:49:54     $8.56        $3.34         1,586         $8,275.59
                                                                         447     3-Jul-18    9:34:10     29-Jun-18    10:49:55     $8.56        $3.34         1,414         $7,376.84
                                                                         448     3-Jul-18    9:34:10     29-Jun-18    10:49:55     $8.56        $3.34         586           $3,057.16
                                                                                                                                         14
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         449     3-Jul-18    9:34:10     29-Jun-18    10:48:17     $8.56        $3.35         114           $594.12
                                                                         450     3-Jul-18    9:33:54     29-Jun-18    10:48:17     $8.56        $3.35         1,000         $5,211.60
                                                                         451     3-Jul-18    9:35:22     29-Jun-18    10:48:17     $8.55        $3.35         3,886         $20,220.80
                                                                         452     3-Jul-18    9:35:22     29-Jun-18    10:49:57     $8.55        $3.35         114           $593.02
                                                                         453     3-Jul-18    9:34:11     29-Jun-18    10:49:57     $8.51        $3.35         886           $4,571.94
                                                                         454     3-Jul-18    9:34:11     29-Jun-18    10:49:56     $8.51        $3.35         985           $5,082.80
                                                                         455     3-Jul-18    9:35:42     29-Jun-18    10:49:56     $8.50        $3.35         1,015         $5,227.55
                                                                         456     3-Jul-18    9:35:42     29-Jun-18    10:48:53     $8.50        $3.35         2,505         $12,901.50
                                                                         457     3-Jul-18    9:35:15     29-Jun-18    10:48:53     $8.49        $3.35         2,495         $12,829.29
                                                                         458     3-Jul-18    9:35:15     29-Jun-18    10:48:23     $8.49        $3.35         1,006         $5,172.85
                                                                         459     3-Jul-18    9:35:41     29-Jun-18    10:48:23     $8.49        $3.35         400           $2,056
                                                                         460     3-Jul-18    9:35:13     29-Jun-18    10:48:23     $8.49        $3.35         250           $1,285
                                                                         461     3-Jul-18    9:33:55     29-Jun-18    10:48:23     $8.48        $3.35         300           $1,539
                                                                         462     3-Jul-18    9:34:50     29-Jun-18    10:48:23     $8.47        $3.35         1,730         $8,858.98
                                                                         463     3-Jul-18    9:34:11     29-Jun-18    10:48:23     $8.46        $3.35         401           $2,050.11
                                                                         464     3-Jul-18    9:34:54     29-Jun-18    10:48:23     $8.45        $3.35         913           $4,660.41
                                                                         465     3-Jul-18    9:34:54     29-Jun-18    14:28:39     $8.45        $3.35         192           $980.06
                                                                         466     3-Jul-18    9:34:57     29-Jun-18    14:28:39     $8.45        $3.35         108           $551.13
                                                                         467     3-Jul-18    9:34:57     29-Jun-18    14:28:38     $8.45        $3.35         300           $1,530.93
                                                                         468     3-Jul-18    9:34:57     29-Jun-18    12:25:44     $8.45        $3.36         500           $2,546.55
                                                                         469     3-Jul-18    9:34:57     29-Jun-18    12:25:43     $8.45        $3.36         67            $341.24
                                                                         470     3-Jul-18    9:34:11     29-Jun-18    12:25:43     $8.43        $3.36         433           $2,195.31
                                                                         471     3-Jul-18    9:34:11     29-Jun-18    12:25:40     $8.43        $3.36         500           $2,535
                                                                         472     3-Jul-18    9:34:11     29-Jun-18    12:25:39     $8.43        $3.36         500           $2,535
                                                                         473     3-Jul-18    9:34:11     29-Jun-18    12:25:42     $8.43        $3.37         167           $845.70
                                                                         474     3-Jul-18    9:34:11     29-Jun-18    12:25:42     $8.43        $3.37         333           $1,686.35
                                                                         475     3-Jul-18    9:34:11     29-Jun-18    12:25:46     $8.43        $3.37         67            $339.15
                                                                         476     3-Jul-18    9:34:11     29-Jun-18    12:25:46     $8.42        $3.37         433           $2,185.70
                                                                         477     3-Jul-18    9:34:11     29-Jun-18    12:25:44     $8.42        $3.37         500           $2,523.90
                                                                         478     3-Jul-18    9:34:11     29-Jun-18    12:25:45     $8.42        $3.37         500           $2,523.80
                                                                         479     3-Jul-18    9:34:11     29-Jun-18    12:25:45     $8.42        $3.37         500           $2,523.80
                                                                         480     3-Jul-18    9:34:11     29-Jun-18    12:25:43     $8.42        $3.37         500           $2,523.65
                                                                                                                                         15
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         481     3-Jul-18    9:34:11     29-Jun-18    12:25:46     $8.42        $3.37         500           $2,523.15
                                                                         482     3-Jul-18    9:34:11     29-Jun-18    10:48:35     $8.42        $3.37         1,067         $5,383.98
                                                                         483     3-Jul-18    9:35:36     29-Jun-18    10:48:35     $8.41        $3.37         3,933         $19,836.09
                                                                         484     3-Jul-18    9:35:36     29-Jun-18    12:25:47     $8.41        $3.37         370           $1,866.10
                                                                         485     3-Jul-18    9:35:36     29-Jun-18    10:50:02     $8.41        $3.38         597           $3,005
                                                                         486     3-Jul-18    9:34:11     29-Jun-18    10:50:02     $8.41        $3.38         1,403         $7,058.35
                                                                         487     3-Jul-18    9:34:11     29-Jun-18    14:37:33     $8.41        $3.39         800           $4,016.72
                                                                         488     3-Jul-18    9:34:11     29-Jun-18    10:50:02     $8.41        $3.39         242           $1,215.01
                                                                         489     3-Jul-18    9:34:11     29-Jun-18    10:50:02     $8.41        $3.39         200           $1,003.96
                                                                         490     3-Jul-18    9:34:11     29-Jun-18    10:50:02     $8.41        $3.39         800           $4,014.08
                                                                         491     3-Jul-18    9:34:49     29-Jun-18    10:50:02     $8.41        $3.39         758           $3,802.51
                                                                         492     3-Jul-18    9:34:49     29-Jun-18    14:37:50     $8.41        $3.40         800           $4,009.36
                                                                         493     3-Jul-18    9:34:49     29-Jun-18    12:25:54     $8.41        $3.40         500           $2,505.65
                                                                         494     3-Jul-18    9:34:49     29-Jun-18    12:25:54     $8.41        $3.40         500           $2,505.65
                                                                         495     3-Jul-18    9:34:49     29-Jun-18    12:25:53     $8.41        $3.40         500           $2,505.65
                                                                         496     3-Jul-18    9:34:49     29-Jun-18    12:25:52     $8.41        $3.40         500           $2,505.65
                                                                         497     3-Jul-18    9:34:49     29-Jun-18    12:25:50     $8.41        $3.40         342           $1,713.86
                                                                         498     3-Jul-18    9:34:43     29-Jun-18    12:25:50     $8.40        $3.40         100           $500.46
                                                                         499     3-Jul-18    9:34:11     29-Jun-18    12:25:50     $8.40        $3.40         58            $290.27
                                                                         500     3-Jul-18    9:34:11     29-Jun-18    12:25:49     $8.40        $3.40         142           $710.65
                                                                         501     3-Jul-18    9:34:43     29-Jun-18    12:25:49     $8.38        $3.40         100           $498.46
                                                                         502     3-Jul-18    9:33:57     29-Jun-18    12:25:49     $8.38        $3.40         258           $1,286.03
                                                                         503     3-Jul-18    9:33:57     29-Jun-18    12:25:58     $8.38        $3.40         1,342         $6,686.65
                                                                         504     3-Jul-18    9:33:57     29-Jun-18    12:25:58     $8.38        $3.40         819           $4,080.75
                                                                         505     3-Jul-18    9:33:57     29-Jun-18    12:25:52     $8.38        $3.40         81            $403.59
                                                                         506     3-Jul-18    9:34:43     29-Jun-18    12:25:52     $8.37        $3.40         200           $994.52
                                                                         507     3-Jul-18    9:34:12     29-Jun-18    12:25:52     $8.36        $3.40         219           $1,087.47
                                                                         508     3-Jul-18    9:34:12     29-Jun-18    14:37:22     $8.36        $3.40         781           $3,877.04
                                                                         509     3-Jul-18    9:34:48     29-Jun-18    14:37:22     $8.35        $3.40         19            $94.15
                                                                         510     3-Jul-18    9:34:48     29-Jun-18    10:50:03     $8.35        $3.40         2,000         $9,909.80
                                                                         511     3-Jul-18    9:34:48     29-Jun-18    14:37:51     $8.35        $3.40         101           $500.43
                                                                         512     3-Jul-18    9:34:43     29-Jun-18    14:37:51     $8.34        $3.40         699           $3,455.09
                                                                                                                                         16
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         513     3-Jul-18    9:34:43     29-Jun-18    14:37:54     $8.34        $3.40         1,000         $4,942
                                                                         514     3-Jul-18    9:34:43     29-Jun-18    14:37:17     $8.34        $3.42         800           $3,937.60
                                                                         515     3-Jul-18    9:34:43     29-Jun-18    14:31:39     $8.34        $3.42         400           $1,968.80
                                                                         516     3-Jul-18    9:34:43     29-Jun-18    14:37:13     $8.34        $3.43         800           $3,929.60
                                                                         517     3-Jul-18    9:34:43     29-Jun-18    14:37:13     $8.34        $3.43         301           $1,478.51
                                                                         518     3-Jul-18    9:34:12     29-Jun-18    14:37:13     $8.34        $3.43         499           $2,450.84
                                                                         519     3-Jul-18    9:34:12     29-Jun-18    14:37:12     $8.34        $3.43         800           $3,929.20
                                                                         520     3-Jul-18    9:34:12     29-Jun-18    14:37:11     $8.34        $3.43         800           $3,929.20
                                                                         521     3-Jul-18    9:34:12     29-Jun-18    14:37:11     $8.34        $3.43         800           $3,929.20
                                                                         522     3-Jul-18    9:34:12     29-Jun-18    14:37:10     $8.34        $3.43         800           $3,929.20
                                                                         523     3-Jul-18    9:34:12     29-Jun-18    14:37:10     $8.34        $3.43         301           $1,478.36
                                                                         524     3-Jul-18    9:34:43     29-Jun-18    14:37:10     $8.34        $3.43         499           $2,450.09
                                                                         525     3-Jul-18    9:34:43     29-Jun-18    14:37:09     $8.34        $3.43         800           $3,928
                                                                         526     3-Jul-18    9:34:43     29-Jun-18    14:37:08     $8.34        $3.43         81            $397.71
                                                                         527     3-Jul-18    9:34:45     29-Jun-18    14:37:08     $8.33        $3.43         719           $3,523.10
                                                                         528     3-Jul-18    9:34:45     29-Jun-18    10:50:44     $8.33        $3.44         2,000         $9,780.60
                                                                         529     3-Jul-18    9:34:45     29-Jun-18    12:26:03     $8.33        $3.44         351           $1,714.92
                                                                         530     3-Jul-18    9:34:37     29-Jun-18    12:26:03     $8.33        $3.44         830           $4,055.21
                                                                         531     3-Jul-18    9:34:12     29-Jun-18    12:26:03     $8.33        $3.44         3,819         $18,658.87
                                                                         532     3-Jul-18    9:34:12     29-Jun-18    14:38:12     $8.33        $3.45         181           $884.15
                                                                         533     3-Jul-18    9:34:33     29-Jun-18    14:38:12     $8.32        $3.45         4,000         $19,501.20
                                                                         534     3-Jul-18    9:34:33     29-Jun-18    14:38:12     $8.32        $3.45         3,819         $18,616.86
                                                                         535     3-Jul-18    9:34:33     29-Jun-18    10:50:48     $8.32        $3.45         181           $882.07
                                                                         536     3-Jul-18    9:34:33     29-Jun-18    10:50:48     $8.32        $3.45         1,819         $8,864.53
                                                                         537     3-Jul-18    9:34:33     29-Jun-18    14:38:26     $8.32        $3.45         2,181         $10,628.23
                                                                         538     3-Jul-18    9:34:13     29-Jun-18    14:38:26     $8.32        $3.45         2,496         $12,163.26
                                                                         539     3-Jul-18    9:34:13     29-Jun-18    10:50:07     $8.32        $3.45         1,504         $7,326.13
                                                                         540     3-Jul-18    9:34:13     29-Jun-18    10:50:07     $8.32        $3.45         4,000         $19,484.40
                                                                         541     3-Jul-18    9:34:12     29-Jun-18    10:50:07     $8.32        $3.45         4,000         $19,484.40
                                                                         542     3-Jul-18    9:36:38     29-Jun-18    10:50:07     $8.31        $3.45         3,600         $17,497.08
                                                                         543     3-Jul-18    9:36:38     29-Jun-18    10:50:07     $8.30        $3.45         1             $4.85
                                                                         544     3-Jul-18    9:36:38     29-Jun-18    10:50:07     $8.26        $3.45         1,600         $7,691.84
                                                                                                                                         17
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         545     3-Jul-18    9:36:38     29-Jun-18    10:50:07     $8.25        $3.45         2,600         $12,482.86
                                                                         546     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.23        $3.45         184           $879.72
                                                                         547     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.23        $3.45         100           $478.11
                                                                         548     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.23        $3.45         100           $478.11
                                                                         549     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.23        $3.45         100           $478.11
                                                                         550     3-Jul-18    9:34:28     29-Jun-18    10:50:07     $8.19        $3.45         4,000         $18,964.40
                                                                         551     3-Jul-18    9:34:28     29-Jun-18    10:50:07     $8.19        $3.45         4,000         $18,964.40
                                                                         552     3-Jul-18    9:34:28     29-Jun-18    10:50:07     $8.19        $3.45         4,000         $18,964.40
                                                                         553     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.18        $3.45         4,000         $18,924.40
                                                                         554     3-Jul-18    9:36:39     29-Jun-18    10:50:07     $8.18        $3.45         2,260         $10,692.29
                                                                         555     3-Jul-18    9:37:13     29-Jun-18    10:50:07     $8.07        $3.45         50            $231.06
                                                                         556     3-Jul-18    9:36:47     29-Jun-18    10:50:07     $8.06        $3.45         4,000         $18,458.40
                                                                         557     3-Jul-18    9:34:27     29-Jun-18    10:50:07     $8.06        $3.45         4,000         $18,447.60
                                                                         558     3-Jul-18    9:36:48     29-Jun-18    10:50:07     $8.06        $3.45         1,676         $7,724.35
                                                                         559     3-Jul-18    9:36:48     29-Jun-18    10:50:44     $8.06        $3.45         2,000         $9,216
                                                                         560     3-Jul-18    9:36:48     29-Jun-18    12:26:03     $8.06        $3.45         324           $1,492.93
                                                                         561     3-Jul-18    9:36:49     29-Jun-18    12:26:03     $8.06        $3.45         4,000         $18,426.40
                                                                         562     3-Jul-18    9:36:50     29-Jun-18    12:26:03     $8.05        $3.45         676           $3,109.60
                                                                         563     3-Jul-18    9:36:50     29-Jun-18    10:50:49     $8.05        $3.45         2,000         $9,199.80
                                                                         564     3-Jul-18    9:36:50     29-Jun-18    10:50:47     $8.05        $3.45         1,324         $6,090.27
                                                                         565     3-Jul-18    9:37:09     29-Jun-18    10:50:47     $8.03        $3.45         676           $3,096.49
                                                                         566     3-Jul-18    9:37:09     29-Jun-18    10:50:45     $8.03        $3.45         2,000         $9,161.20
                                                                         567     3-Jul-18    9:37:09     29-Jun-18    12:26:07     $8.03        $3.47         424           $1,934.50
                                                                         568     3-Jul-18    9:37:09     29-Jun-18    12:26:07     $8.02        $3.47         730           $3,323.91
                                                                         569     3-Jul-18    9:37:11     29-Jun-18    12:26:07     $8.02        $3.47         691           $3,145.36
                                                                         570     3-Jul-18    9:37:09     29-Jun-18    12:26:07     $8.00        $3.47         76            $344.51
                                                                         571     3-Jul-18    9:37:09     29-Jun-18    12:41:22     $8.00        $3.48         1,000         $4,521.10
                                                                         572     3-Jul-18    9:37:09     29-Jun-18    12:41:24     $8.00        $3.49         1,000         $4,514.80
                                                                         573     3-Jul-18    9:37:09     29-Jun-18    12:41:26     $8.00        $3.49         1,000         $4,513.40
                                                                         574     3-Jul-18    9:37:09     29-Jun-18    12:41:25     $8.00        $3.49         1,000         $4,513.40
                                                                         575     3-Jul-18    9:37:09     29-Jun-18    12:41:25     $8.00        $3.49         924           $4,169.92
                                                                         576     3-Jul-18    9:37:03     29-Jun-18    12:41:25     $7.98        $3.49         76            $341.46
                                                                                                                                         18
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         577     3-Jul-18    9:37:03     29-Jun-18    12:41:27     $7.98        $3.49         1,000         $4,492.80
                                                                         578     3-Jul-18    9:37:03     29-Jun-18    12:41:27     $7.98        $3.49         1,000         $4,492.10
                                                                         579     3-Jul-18    9:37:03     29-Jun-18    12:41:28     $7.98        $3.49         100           $449.11
                                                                         580     3-Jul-18    9:37:03     29-Jun-18    10:51:04     $7.98        $3.49         1,824         $8,191.77
                                                                         581     3-Jul-18    9:36:59     29-Jun-18    10:51:04     $7.92        $3.49         176           $779.68
                                                                         582     3-Jul-18    9:36:59     29-Jun-18    12:26:11     $7.92        $3.50         3,824         $16,906.67
                                                                         583     3-Jul-18    9:37:31     29-Jun-18    12:26:11     $7.90        $3.50         255           $1,123.12
                                                                         584     3-Jul-18    9:37:31     29-Jun-18    12:41:31     $7.90        $3.50         1,000         $4,403.20
                                                                         585     3-Jul-18    9:37:31     29-Jun-18    10:51:07     $7.90        $3.50         2,000         $8,806.40
                                                                         586     3-Jul-18    9:37:31     29-Jun-18    10:51:07     $7.90        $3.50         745           $3,280.38
                                                                         587     3-Jul-18    9:37:31     29-Jun-18    10:51:07     $7.86        $3.50         1,255         $5,477.07
                                                                         588     3-Jul-18    9:37:31     29-Jun-18    10:51:13     $7.86        $3.51         2,000         $8,708.40
                                                                         589     3-Jul-18    9:37:31     29-Jun-18    10:51:12     $7.86        $3.51         245           $1,066.78
                                                                         590     3-Jul-18    9:37:32     29-Jun-18    10:51:12     $7.84        $3.51         30            $129.90
                                                                         591     3-Jul-18    9:37:32     29-Jun-18    10:51:12     $7.83        $3.51         1,725         $7,447.34
                                                                         592     3-Jul-18    9:37:32     29-Jun-18    14:39:56     $7.83        $3.51         100           $431.73
                                                                         593     3-Jul-18    9:37:32     29-Jun-18    14:39:55     $7.83        $3.51         100           $431.73
                                                                         594     3-Jul-18    9:37:32     29-Jun-18    14:39:54     $7.83        $3.51         100           $431.73
                                                                         595     3-Jul-18    9:37:32     29-Jun-18    14:39:53     $7.83        $3.51         100           $431.73
                                                                         596     3-Jul-18    9:37:32     29-Jun-18    10:56:05     $7.83        $3.54         1,525         $6,540.57
                                                                         597     3-Jul-18    9:37:32     29-Jun-18    10:56:05     $7.81        $3.54         3,475         $14,843.81
                                                                         598     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.81        $3.54         525           $2,242.01
                                                                         599     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.81        $3.54         8             $34.16
                                                                         600     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.80        $3.54         1,350         $5,751.68
                                                                         601     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.78        $3.54         200           $848.38
                                                                         602     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.75        $3.54         811           $3,414.72
                                                                         603     3-Jul-18    9:37:32     29-Jun-18    12:26:14     $7.61        $3.54         500           $2,037.25
                                                                         604     3-Jul-18    9:37:33     29-Jun-18    12:26:14     $7.58        $3.54         1,054         $4,258.69
                                                                         605     3-Jul-18    9:37:33     29-Jun-18    12:26:14     $7.57        $3.54         552           $2,226.22
                                                                         606     3-Jul-18    9:37:33     29-Jun-18    12:41:34     $7.57        $3.54         252           $1,016.19
                                                                         607     3-Jul-18    9:37:33     29-Jun-18    12:41:34     $7.57        $3.54         98            $394.94
                                                                         608     3-Jul-18    9:37:33     29-Jun-18    14:39:57     $7.57        $3.54         100           $403
                                                                                                                                         19
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         609     3-Jul-18    9:37:33     29-Jun-18    14:39:57     $7.57        $3.54         100           $403
                                                                         610     3-Jul-18    9:37:33     29-Jun-18    14:39:56     $7.57        $3.54         100           $403
                                                                         611     3-Jul-18    9:37:33     29-Jun-18    12:26:17     $7.57        $3.54         2             $8.06
                                                                         612     3-Jul-18    9:37:33     29-Jun-18    12:26:17     $7.56        $3.54         404           $1,625.13
                                                                         613     3-Jul-18    9:38:17     29-Jun-18    12:26:17     $7.51        $3.54         770           $3,058.90
                                                                         614     3-Jul-18    9:38:17     29-Jun-18    12:26:17     $7.51        $3.54         300           $1,191
                                                                         615     3-Jul-18    9:38:13     29-Jun-18    12:26:17     $7.51        $3.54         2,725         $10,818.25
                                                                         616     3-Jul-18    9:38:13     29-Jun-18    12:26:17     $7.51        $3.54         700           $2,779
                                                                         617     3-Jul-18    9:38:13     29-Jun-18    12:26:17     $7.51        $3.54         99            $393.03
                                                                         618     3-Jul-18    9:38:13     29-Jun-18    12:26:15     $7.51        $3.54         701           $2,782.97
                                                                         619     3-Jul-18    9:38:13     29-Jun-18    12:26:15     $7.51        $3.54         1,525         $6,054.25
                                                                         620     3-Jul-18    9:38:13     29-Jun-18    12:26:15     $7.50        $3.54         2,774         $10,985.04
                                                                         621     3-Jul-18    9:38:13     29-Jun-18    12:26:18     $7.50        $3.55         2,226         $8,802.94
                                                                         622     3-Jul-18    9:38:16     29-Jun-18    12:26:18     $7.48        $3.55         1,030         $4,052.64
                                                                         623     3-Jul-18    9:38:12     29-Jun-18    12:26:18     $7.47        $3.55         1,744         $6,849.73
                                                                         624     3-Jul-18    9:38:12     29-Jun-18    10:56:06     $7.47        $3.55         826           $3,242.79
                                                                         625     3-Jul-18    9:38:09     29-Jun-18    10:56:06     $7.47        $3.55         1,608         $6,308.02
                                                                         626     3-Jul-18    9:38:05     29-Jun-18    10:56:06     $7.47        $3.55         1,600         $6,276.64
                                                                         627     3-Jul-18    9:37:56     29-Jun-18    10:56:06     $7.47        $3.55         700           $2,746.03
                                                                         628     3-Jul-18    9:37:39     29-Jun-18    10:56:06     $7.38        $3.55         266           $1,020.22
                                                                         629     3-Jul-18    9:37:39     29-Jun-18    10:56:08     $7.38        $3.55         1,205         $4,618.16
                                                                         630     3-Jul-18    9:37:39     29-Jun-18    10:56:07     $7.38        $3.55         2,529         $9,692.39
                                                                         631     3-Jul-18    9:37:39     29-Jun-18    10:56:07     $7.38        $3.55         2,471         $9,454.29
                                                                         632     3-Jul-18    9:37:39     29-Jun-18    10:51:55     $7.38        $3.55         1,079         $4,128.36
                                                                         633     3-Jul-18    9:37:38     29-Jun-18    10:51:55     $7.37        $3.55         921           $3,520.98
                                                                         634     3-Jul-18    9:37:38     29-Jun-18    14:40:01     $7.37        $3.55         3,079         $11,771.02
                                                                         635     3-Jul-18    9:38:00     29-Jun-18    14:40:01     $7.36        $3.55         238           $906.78
                                                                         636     3-Jul-18    9:37:39     29-Jun-18    14:40:01     $7.35        $3.55         3,762         $14,295.98
                                                                         637     3-Jul-18    9:37:58     29-Jun-18    14:40:01     $7.34        $3.55         932           $3,532.28
                                                                         638     3-Jul-18    9:37:58     29-Jun-18    14:39:53     $7.34        $3.55         100           $379
                                                                         639     3-Jul-18    9:37:58     29-Jun-18    14:39:52     $7.34        $3.55         100           $379
                                                                         640     3-Jul-18    9:37:58     29-Jun-18    12:26:18     $7.34        $3.55         3,868         $14,659.72
                                                                                                                                         20
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         641     3-Jul-18    9:37:42     29-Jun-18    12:26:18     $7.30        $3.55         844           $3,166.69
                                                                         642     3-Jul-18    9:37:42     29-Jun-18    10:56:10     $7.30        $3.56         3,156         $11,809.75
                                                                         643     3-Jul-18    9:37:41     29-Jun-18    10:56:10     $7.29        $3.56         1,844         $6,878.67
                                                                         644     3-Jul-18    9:37:41     29-Jun-18    10:51:40     $7.29        $3.56         2,000         $7,460.60
                                                                         645     3-Jul-18    9:37:41     29-Jun-18    14:38:45     $7.29        $3.56         156           $581.47
                                                                         646     3-Jul-18    9:37:42     29-Jun-18    14:38:45     $7.29        $3.56         1,691         $6,301.68
                                                                         647     3-Jul-18    9:37:40     29-Jun-18    14:38:45     $7.29        $3.56         4,000         $14,893.60
                                                                         648     3-Jul-18    9:37:56     29-Jun-18    14:38:45     $7.29        $3.56         1,859         $6,921.24
                                                                         649     3-Jul-18    9:37:43     29-Jun-18    14:38:45     $7.28        $3.56         4,000         $14,876.40
                                                                         650     3-Jul-18    9:37:51     29-Jun-18    14:38:45     $7.27        $3.56         200           $741.42
                                                                         651     3-Jul-18    9:37:43     29-Jun-18    14:38:45     $7.27        $3.56         3,650         $13,518.50
                                                                         652     29-Jun-18   13:44:33    29-Jun-18    14:38:45     $4.73        $3.56         100           $116.71
                                                                         653     29-Jun-18   13:44:33    29-Jun-18    14:38:45     $4.71        $3.56         300           $344.13
                                                                         654     29-Jun-18   13:44:33    29-Jun-18    14:38:45     $4.70        $3.56         300           $341.13
                                                                         655     29-Jun-18   13:45:07    29-Jun-18    14:38:45     $4.65        $3.56         1,054         $1,146.22
                                                                         656     29-Jun-18   13:45:07    29-Jun-18    12:41:37     $4.65        $3.58         1,000         $1,075.40
                                                                         657     29-Jun-18   13:45:07    29-Jun-18    10:56:14     $4.65        $3.58         5,000         $5,365.50
                                                                         658     29-Jun-18   13:45:07    29-Jun-18    10:56:14     $4.65        $3.58         5,000         $5,363
                                                                         659     29-Jun-18   13:45:07    29-Jun-18    12:41:38     $4.65        $3.58         1,000         $1,071.90
                                                                         660     29-Jun-18   13:45:07    29-Jun-18    12:27:00     $4.65        $3.58         1,750         $1,875.12
                                                                         661     29-Jun-18   13:45:07    29-Jun-18    12:41:38     $4.65        $3.58         1,000         $1,071.30
                                                                         662     29-Jun-18   13:45:07    29-Jun-18    12:41:40     $4.65        $3.58         175           $187.32
                                                                         663     29-Jun-18   13:45:07    29-Jun-18    12:41:39     $4.65        $3.58         1,000         $1,070.40
                                                                         664     29-Jun-18   13:45:07    29-Jun-18    10:56:15     $4.65        $3.58         5,000         $5,328
                                                                         665     29-Jun-18   13:45:07    29-Jun-18    10:56:16     $4.65        $3.60         4,856         $5,120.17
                                                                         666     29-Jun-18   13:45:07    29-Jun-18    12:27:03     $4.65        $3.60         65            $68.28
                                                                         667     29-Jun-18   13:44:29    29-Jun-18    12:27:03     $4.65        $3.60         100           $105
                                                                         668     29-Jun-18   13:44:28    29-Jun-18    12:27:03     $4.64        $3.60         320           $332.80
                                                                         669     29-Jun-18   13:44:24    29-Jun-18    12:27:03     $4.63        $3.60         50            $51.50
                                                                         670     29-Jun-18   13:44:22    29-Jun-18    12:27:03     $4.62        $3.60         100           $102
                                                                         671     29-Jun-18   13:44:21    29-Jun-18    12:27:03     $4.61        $3.60         465           $469.65
                                                                         672     29-Jun-18   13:44:21    29-Jun-18    10:56:17     $4.61        $3.60         750           $757.50
                                                                                                                                         21
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         673     29-Jun-18   13:44:21    29-Jun-18    14:07:16     $4.61        $3.60         1,000         $1,010
                                                                         674     29-Jun-18   13:44:21    29-Jun-18    14:06:23     $4.61        $3.60         385           $388.85
                                                                         675     29-Jun-18   13:44:07    29-Jun-18    14:06:23     $4.60        $3.60         100           $100
                                                                         676     29-Jun-18   13:44:01    29-Jun-18    14:06:23     $4.59        $3.60         496           $491.04
                                                                         677     29-Jun-18   13:45:57    29-Jun-18    14:06:23     $4.58        $3.60         1,845         $1,814
                                                                         678     29-Jun-18   13:45:57    29-Jun-18    14:05:27     $4.58        $3.60         355           $349.04
                                                                         679     29-Jun-18   13:43:47    29-Jun-18    14:05:27     $4.58        $3.60         3,853         $3,787.88
                                                                         680     29-Jun-18   13:48:17    29-Jun-18    14:05:27     $4.57        $3.60         325           $315.25
                                                                         681     29-Jun-18   13:43:46    29-Jun-18    14:05:27     $4.57        $3.60         5,000         $4,850
                                                                         682     29-Jun-18   13:43:50    29-Jun-18    14:05:27     $4.56        $3.60         1,130         $1,084.80
                                                                         683     29-Jun-18   13:45:20    29-Jun-18    14:05:27     $4.56        $3.60         7,001         $6,687.36
                                                                         684     29-Jun-18   13:45:20    29-Jun-18    12:26:27     $4.56        $3.60         2,900         $2,770.08
                                                                         685     29-Jun-18   13:45:20    29-Jun-18    12:26:24     $4.56        $3.60         265           $253.13
                                                                         686     29-Jun-18   13:45:20    29-Jun-18    12:27:06     $4.56        $3.61         500           $472.60
                                                                         687     29-Jun-18   13:45:20    29-Jun-18    12:27:05     $4.56        $3.61         2,900         $2,741.08
                                                                         688     29-Jun-18   13:45:20    29-Jun-18    14:07:17     $4.56        $3.61         3,940         $3,724.09
                                                                         689     29-Jun-18   13:45:20    29-Jun-18    14:07:16     $4.56        $3.61         3,123         $2,951.86
                                                                         690     29-Jun-18   13:45:52    29-Jun-18    14:07:16     $4.55        $3.61         1,877         $1,770.57
                                                                         691     29-Jun-18   13:45:52    29-Jun-18    14:07:14     $4.55        $3.61         5,000         $4,716.50
                                                                         692     29-Jun-18   13:45:52    29-Jun-18    10:56:19     $4.55        $3.63         5,000         $4,633
                                                                         693     29-Jun-18   13:45:52    29-Jun-18    14:40:22     $4.55        $3.63         800           $738.64
                                                                         694     29-Jun-18   13:45:52    29-Jun-18    14:40:19     $4.55        $3.63         800           $738.64
                                                                         695     29-Jun-18   13:45:52    29-Jun-18    12:30:35     $4.55        $3.63         1,000         $919.30
                                                                         696     29-Jun-18   13:45:52    29-Jun-18    10:56:20     $4.55        $3.64         3,143         $2,876.79
                                                                         697     29-Jun-18   13:45:30    29-Jun-18    10:56:20     $4.55        $3.64         200           $182.40
                                                                         698     29-Jun-18   13:42:56    29-Jun-18    10:56:20     $4.55        $3.64         1,657         $1,511.18
                                                                         699     29-Jun-18   13:42:56    29-Jun-18    12:30:35     $4.55        $3.64         1,000         $911
                                                                         700     29-Jun-18   13:42:56    29-Jun-18    14:05:36     $4.55        $3.64         2,343         $2,132.60
                                                                         701     29-Jun-18   13:42:55    29-Jun-18    14:05:36     $4.53        $3.64         3,610         $3,217.59
                                                                         702     29-Jun-18   13:42:54    29-Jun-18    14:05:36     $4.53        $3.64         390           $347.18
                                                                         703     29-Jun-18   13:42:54    29-Jun-18    14:05:36     $4.52        $3.64         5,000         $4,399
                                                                         704     29-Jun-18   13:42:53    29-Jun-18    14:05:36     $4.51        $3.64         5,000         $4,375
                                                                                                                                         22
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         705     29-Jun-18   13:48:27    29-Jun-18    14:05:36     $4.50        $3.64         15            $12.97
                                                                         706     29-Jun-18   13:48:27    29-Jun-18    12:30:36     $4.50        $3.64         580           $501.29
                                                                         707     29-Jun-18   13:48:27    29-Jun-18    12:30:36     $4.50        $3.64         30            $25.93
                                                                         708     29-Jun-18   13:48:27    29-Jun-18    10:56:25     $4.50        $3.64         1,401         $1,210.88
                                                                         709     29-Jun-18   13:48:27    29-Jun-18    10:56:21     $4.50        $3.64         222           $191.87
                                                                         710     29-Jun-18   13:48:27    29-Jun-18    10:56:20     $4.50        $3.64         5,000         $4,321.50
                                                                         711     29-Jun-18   13:48:27    29-Jun-18    14:06:05     $4.50        $3.64         5,000         $4,321.50
                                                                         712     29-Jun-18   13:48:27    29-Jun-18    14:05:43     $4.50        $3.64         3,006         $2,598.09
                                                                         713     29-Jun-18   13:46:10    29-Jun-18    14:05:43     $4.50        $3.64         8,342         $7,188.30
                                                                         714     29-Jun-18   13:46:10    29-Jun-18    14:40:30     $4.50        $3.65         500           $428.35
                                                                         715     29-Jun-18   13:46:10    29-Jun-18    14:40:28     $4.50        $3.65         500           $428.35
                                                                         716     29-Jun-18   13:46:10    29-Jun-18    14:40:27     $4.50        $3.65         500           $428.35
                                                                         717     29-Jun-18   13:46:10    29-Jun-18    14:40:26     $4.50        $3.65         500           $428.35
                                                                         718     29-Jun-18   13:46:10    29-Jun-18    14:06:09     $4.50        $3.65         3,142         $2,683.27
                                                                         719     29-Jun-18   13:42:53    29-Jun-18    14:06:09     $4.50        $3.65         1,858         $1,586.36
                                                                         720     29-Jun-18   13:42:53    29-Jun-18    12:41:59     $4.50        $3.65         155           $131.98
                                                                         721     29-Jun-18   13:42:53    29-Jun-18    14:40:34     $4.50        $3.65         500           $425.75
                                                                         722     29-Jun-18   13:42:53    29-Jun-18    14:07:34     $4.50        $3.65         2,487         $2,117.68
                                                                         723     29-Jun-18   13:47:54    29-Jun-18    14:07:34     $4.50        $3.65         2,513         $2,135.55
                                                                         724     29-Jun-18   13:47:54    29-Jun-18    13:07:49     $4.50        $3.66         600           $504.96
                                                                         725     29-Jun-18   13:47:54    29-Jun-18    14:07:35     $4.50        $3.66         3,710         $3,120.48
                                                                         726     29-Jun-18   13:47:54    29-Jun-18    10:56:30     $4.50        $3.66         4,784         $4,019.52
                                                                         727     29-Jun-18   13:46:38    29-Jun-18    10:56:30     $4.49        $3.66         216           $179.86
                                                                         728     29-Jun-18   13:46:38    29-Jun-18    10:56:28     $4.49        $3.67         3,784         $3,118.39
                                                                         729     29-Jun-18   13:46:53    29-Jun-18    10:56:28     $4.49        $3.67         200           $164.36
                                                                         730     29-Jun-18   13:46:49    29-Jun-18    10:56:28     $4.49        $3.67         710           $583.48
                                                                         731     29-Jun-18   13:47:39    29-Jun-18    10:56:28     $4.46        $3.67         306           $242.29
                                                                         732     29-Jun-18   13:47:39    29-Jun-18    12:27:09     $4.46        $3.67         100           $79
                                                                         733     29-Jun-18   13:47:39    29-Jun-18    14:42:15     $4.46        $3.67         1,567         $1,237.93
                                                                         734     29-Jun-18   13:47:39    29-Jun-18    14:07:43     $4.46        $3.67         150           $118.50
                                                                         735     29-Jun-18   13:47:39    29-Jun-18    14:07:42     $4.46        $3.67         1,100         $869
                                                                         736     29-Jun-18   13:47:39    29-Jun-18    12:26:24     $4.46        $3.67         1,078         $849.03
                                                                                                                                         23
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         737     29-Jun-18   13:47:32    29-Jun-18    12:26:24     $4.46        $3.67         3,922         $3,088.97
                                                                         738     29-Jun-18   13:47:32    29-Jun-18    12:27:09     $4.46        $3.68         128           $100.36
                                                                         739     29-Jun-18   13:42:53    29-Jun-18    12:27:09     $4.46        $3.68         1,115         $869.25
                                                                         740     29-Jun-18   13:42:53    29-Jun-18    12:30:45     $4.46        $3.68         330           $255.92
                                                                         741     29-Jun-18   13:42:53    29-Jun-18    14:42:23     $4.46        $3.68         200           $155.10
                                                                         742     29-Jun-18   13:42:53    29-Jun-18    12:31:07     $4.46        $3.69         1,000         $767.80
                                                                         743     29-Jun-18   13:42:53    29-Jun-18    12:30:58     $4.46        $3.69         1,000         $767.40
                                                                         744     29-Jun-18   13:42:53    29-Jun-18    12:31:06     $4.46        $3.69         1,000         $767
                                                                         745     29-Jun-18   13:42:53    29-Jun-18    12:31:06     $4.46        $3.69         355           $272.28
                                                                         746     29-Jun-18   13:49:11    29-Jun-18    12:31:06     $4.45        $3.69         645           $491.55
                                                                         747     29-Jun-18   13:49:11    29-Jun-18    12:31:05     $4.45        $3.69         1,000         $762.10
                                                                         748     29-Jun-18   13:49:11    29-Jun-18    12:31:04     $4.45        $3.69         955           $727.81
                                                                         749     29-Jun-18   13:49:26    29-Jun-18    12:31:04     $4.45        $3.69         45            $34.27
                                                                         750     29-Jun-18   13:49:26    29-Jun-18    12:31:04     $4.45        $3.69         75            $57.11
                                                                         751     29-Jun-18   13:48:57    29-Jun-18    12:31:04     $4.44        $3.69         925           $699.48
                                                                         752     29-Jun-18   13:48:57    29-Jun-18    12:31:04     $4.44        $3.69         1,000         $756.20
                                                                         753     29-Jun-18   13:48:57    29-Jun-18    12:31:03     $4.44        $3.69         1,000         $756.20
                                                                         754     29-Jun-18   13:48:57    29-Jun-18    12:31:03     $4.44        $3.69         1,000         $756.20
                                                                         755     29-Jun-18   13:48:57    29-Jun-18    12:31:02     $4.44        $3.69         1,000         $756.20
                                                                         756     29-Jun-18   13:48:57    29-Jun-18    12:31:02     $4.44        $3.69         1,000         $756.20
                                                                         757     29-Jun-18   13:48:57    29-Jun-18    12:31:01     $4.44        $3.69         1,000         $756.20
                                                                         758     29-Jun-18   13:48:57    29-Jun-18    12:31:01     $4.44        $3.69         175           $132.34
                                                                         759     29-Jun-18   13:49:28    29-Jun-18    12:31:01     $4.44        $3.69         825           $619.99
                                                                         760     29-Jun-18   13:49:28    29-Jun-18    12:30:57     $4.44        $3.69         1,000         $751.50
                                                                         761     29-Jun-18   13:49:28    29-Jun-18    12:30:56     $4.44        $3.69         575           $432.11
                                                                         762     29-Jun-18   13:42:45    29-Jun-18    12:30:56     $4.43        $3.69         425           $315.14
                                                                         763     29-Jun-18   13:42:45    29-Jun-18    12:30:56     $4.43        $3.69         1,000         $741.50
                                                                         764     29-Jun-18   13:42:45    29-Jun-18    12:30:55     $4.43        $3.69         1,000         $741.50
                                                                         765     29-Jun-18   13:42:45    29-Jun-18    12:30:54     $4.43        $3.69         1,000         $741.50
                                                                         766     29-Jun-18   13:42:45    29-Jun-18    12:31:00     $4.43        $3.69         1,000         $741
                                                                         767     29-Jun-18   13:42:45    29-Jun-18    12:30:58     $4.43        $3.69         75            $55.54
                                                                         768     29-Jun-18   13:49:30    29-Jun-18    12:30:58     $4.40        $3.69         925           $657.21
                                                                                                                                         24
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         769     29-Jun-18   13:49:30    29-Jun-18    12:31:07     $4.40        $3.69         1,000         $710.30
                                                                         770     29-Jun-18   13:49:30    29-Jun-18    12:41:57     $4.40        $3.69         1,000         $707.50
                                                                         771     29-Jun-18   13:49:30    29-Jun-18    14:41:00     $4.40        $3.70         500           $352.50
                                                                         772     29-Jun-18   13:49:30    29-Jun-18    14:40:59     $4.40        $3.70         500           $352.50
                                                                         773     29-Jun-18   13:49:30    29-Jun-18    14:40:59     $4.40        $3.70         300           $211.50
                                                                         774     29-Jun-18   13:49:30    29-Jun-18    12:31:10     $4.40        $3.70         462           $324.09
                                                                         775     29-Jun-18   11:29:44    29-Jun-18    12:31:10     $4.37        $3.70         538           $361.27
                                                                         776     29-Jun-18   11:29:44    29-Jun-18    10:56:33     $4.37        $3.70         82            $55.05
                                                                         777     29-Jun-18   15:59:57    29-Jun-18    10:56:33     $4.36        $3.70         100           $66.13
                                                                         778     29-Jun-18   11:23:32    29-Jun-18    10:56:33     $4.35        $3.70         100           $65.13
                                                                         779     29-Jun-18   11:23:32    29-Jun-18    10:56:33     $4.35        $3.70         1,400         $904.82
                                                                         780     29-Jun-18   15:59:56    29-Jun-18    10:56:33     $4.34        $3.70         200           $128.26
                                                                         781     29-Jun-18   11:23:32    29-Jun-18    10:56:33     $4.33        $3.70         3,118         $1,968.39
                                                                         782     29-Jun-18   11:23:32    29-Jun-18    10:56:34     $4.33        $3.70         383           $241.75
                                                                         783     29-Jun-18   15:59:56    29-Jun-18    10:56:34     $4.32        $3.70         300           $186.36
                                                                         784     29-Jun-18   11:23:34    29-Jun-18    10:56:34     $4.31        $3.70         4,317         $2,638.55
                                                                         785     29-Jun-18   11:23:34    29-Jun-18    11:04:04     $4.31        $3.70         3,022         $1,845.23
                                                                         786     29-Jun-18   15:59:56    29-Jun-18    11:04:04     $4.30        $3.70         300           $180.18
                                                                         787     29-Jun-18   11:20:50    29-Jun-18    11:04:04     $4.29        $3.70         2,855         $1,686.16
                                                                         788     29-Jun-18   13:49:34    29-Jun-18    11:04:04     $4.29        $3.70         3,768         $2,222.74
                                                                         789     29-Jun-18   13:49:34    29-Jun-18    12:31:11     $4.29        $3.70         604           $356.24
                                                                         790     29-Jun-18   15:59:56    29-Jun-18    12:31:11     $4.28        $3.70         396           $229.88
                                                                         791     29-Jun-18   15:59:56    29-Jun-18    12:31:11     $4.28        $3.70         668           $387.77
                                                                         792     29-Jun-18   11:20:22    29-Jun-18    12:31:11     $4.27        $3.70         332           $189.41
                                                                         793     29-Jun-18   11:20:22    29-Jun-18    12:31:10     $4.27        $3.70         1,000         $570.50
                                                                         794     29-Jun-18   11:20:22    29-Jun-18    13:54:28     $4.27        $3.70         262           $149.34
                                                                         795     29-Jun-18   15:35:37    29-Jun-18    13:54:28     $4.26        $3.70         1,638         $917.28
                                                                         796     29-Jun-18   15:35:37    29-Jun-18    10:56:38     $4.26        $3.70         562           $314.72
                                                                         797     29-Jun-18   15:20:47    29-Jun-18    10:56:38     $4.26        $3.70         200           $112
                                                                         798     29-Jun-18   13:49:46    29-Jun-18    10:56:38     $4.25        $3.70         4,238         $2,341.50
                                                                         799     29-Jun-18   13:49:46    29-Jun-18    10:56:37     $4.25        $3.70         613           $338.68
                                                                         800     29-Jun-18   11:20:21    29-Jun-18    10:56:37     $4.25        $3.70         2,747         $1,510.85
                                                                                                                                         25
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         801     29-Jun-18   15:20:47    29-Jun-18    10:56:37     $4.24        $3.70         1,640         $887.40
                                                                         802     29-Jun-18   15:20:47    29-Jun-18    14:41:17     $4.24        $3.70         171           $92.53
                                                                         803     29-Jun-18   15:34:59    29-Jun-18    14:41:17     $4.24        $3.70         39            $21.06
                                                                         804     29-Jun-18   13:49:37    29-Jun-18    14:41:17     $4.22        $3.70         8,164         $4,283.65
                                                                         805     29-Jun-18   13:49:37    29-Jun-18    14:41:13     $4.22        $3.70         286           $150.06
                                                                         806     29-Jun-18   15:20:47    29-Jun-18    14:41:13     $4.22        $3.70         214           $111.28
                                                                         807     29-Jun-18   15:20:47    29-Jun-18    14:41:08     $4.22        $3.70         500           $260
                                                                         808     29-Jun-18   15:20:47    29-Jun-18    14:41:01     $4.22        $3.70         500           $260
                                                                         809     29-Jun-18   15:20:47    29-Jun-18    14:41:00     $4.22        $3.70         500           $260
                                                                         810     29-Jun-18   15:20:47    29-Jun-18    12:13:50     $4.22        $3.70         447           $232.44
                                                                         811     29-Jun-18   15:20:47    29-Jun-18    10:56:36     $4.22        $3.70         339           $176.14
                                                                         812     29-Jun-18   15:20:46    29-Jun-18    10:56:36     $4.20        $3.70         2,500         $1,249
                                                                         813     29-Jun-18   15:20:31    29-Jun-18    10:56:36     $4.18        $3.70         1,561         $748.66
                                                                         814     29-Jun-18   15:20:30    29-Jun-18    10:56:36     $4.18        $3.70         139           $66.66
                                                                         815     29-Jun-18   11:19:59    29-Jun-18    10:56:36     $4.17        $3.70         461           $216.49
                                                                         816     29-Jun-18   11:19:59    29-Jun-18    10:56:38     $4.17        $3.70         4,539         $2,130.15
                                                                         817     29-Jun-18   15:19:58    29-Jun-18    10:56:38     $4.16        $3.70         461           $211.74
                                                                         818     29-Jun-18   15:19:58    29-Jun-18    10:56:39     $4.16        $3.71         2,039         $923.26
                                                                         819     29-Jun-18   11:19:27    29-Jun-18    10:56:39     $4.15        $3.71         300           $132.84
                                                                         820     29-Jun-18   13:50:00    29-Jun-18    10:56:39     $4.14        $3.71         2,661         $1,152.48
                                                                         821     29-Jun-18   13:50:00    29-Jun-18    12:41:59     $4.14        $3.71         1,000         $430.30
                                                                         822     29-Jun-18   13:50:00    29-Jun-18    13:53:55     $4.14        $3.72         5,000         $2,101.50
                                                                         823     29-Jun-18   13:50:00    29-Jun-18    10:56:43     $4.14        $3.72         39            $16.39
                                                                         824     29-Jun-18   15:20:18    29-Jun-18    10:56:43     $4.14        $3.72         100           $42
                                                                         825     29-Jun-18   15:19:57    29-Jun-18    10:56:43     $4.14        $3.72         495           $207.90
                                                                         826     29-Jun-18   15:19:57    29-Jun-18    10:56:41     $4.14        $3.72         5             $2.10
                                                                         827     29-Jun-18   15:19:56    29-Jun-18    10:56:41     $4.14        $3.72         1,171         $491.82
                                                                         828     29-Jun-18   15:19:56    29-Jun-18    10:56:41     $4.14        $3.72         29            $12.18
                                                                         829     29-Jun-18   15:19:54    29-Jun-18    10:56:41     $4.12        $3.72         271           $108.40
                                                                         830     29-Jun-18   15:19:54    29-Jun-18    10:56:39     $4.12        $3.72         2,229         $891.60
                                                                         831     29-Jun-18   11:16:33    29-Jun-18    10:56:39     $4.12        $3.72         2,712         $1,084.80
                                                                         832     29-Jun-18   11:16:33    29-Jun-18    14:42:37     $4.12        $3.72         100           $40
                                                                                                                                         26
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         833     29-Jun-18   11:16:33    29-Jun-18    14:42:28     $4.12        $3.72         100           $40
                                                                         834     29-Jun-18   11:16:33    29-Jun-18    14:42:27     $4.12        $3.72         100           $40
                                                                         835     29-Jun-18   11:16:33    29-Jun-18    11:04:39     $4.12        $3.72         832           $331.30
                                                                         836     29-Jun-18   11:16:32    29-Jun-18    11:04:39     $4.11        $3.72         268           $103.23
                                                                         837     29-Jun-18   11:16:32    29-Jun-18    12:26:26     $4.11        $3.73         4,732         $1,806.68
                                                                         838     29-Jun-18   15:19:30    29-Jun-18    12:26:26     $4.10        $3.73         268           $100.45
                                                                         839     29-Jun-18   15:19:30    29-Jun-18    14:42:38     $4.10        $3.74         500           $182
                                                                         840     29-Jun-18   15:19:30    29-Jun-18    14:42:39     $4.10        $3.74         210           $75.60
                                                                         841     29-Jun-18   15:19:30    29-Jun-18    14:41:29     $4.10        $3.75         600           $213
                                                                         842     29-Jun-18   15:19:30    29-Jun-18    14:41:28     $4.10        $3.75         600           $210.72
                                                                         843     29-Jun-18   15:19:30    29-Jun-18    11:04:43     $4.10        $3.75         322           $112.93
                                                                         844     29-Jun-18   11:16:29    29-Jun-18    11:04:43     $4.08        $3.75         1,678         $555.08
                                                                         845     29-Jun-18   11:16:29    29-Jun-18    11:04:43     $4.08        $3.75         261           $86.26
                                                                         846     29-Jun-18   11:16:16    29-Jun-18    11:04:43     $4.08        $3.75         1,739         $574.57
                                                                         847     29-Jun-18   11:16:16    29-Jun-18    11:06:27     $4.08        $3.75         861           $284.13
                                                                         848     29-Jun-18   11:16:28    29-Jun-18    11:06:27     $4.07        $3.75         139           $44.48
                                                                         849     29-Jun-18   11:16:28    29-Jun-18    11:04:48     $4.07        $3.75         100           $32
                                                                         850     29-Jun-18   11:16:28    29-Jun-18    11:04:46     $4.07        $3.75         1,491         $477.12
                                                                         851     29-Jun-18   11:16:18    29-Jun-18    11:04:46     $4.07        $3.75         509           $162.88
                                                                         852     29-Jun-18   11:16:18    29-Jun-18    11:04:46     $4.07        $3.75         600           $192
                                                                         853     29-Jun-18   11:16:18    29-Jun-18    11:04:45     $4.07        $3.75         761           $243.52
                                                                         854     29-Jun-18   11:16:15    29-Jun-18    11:04:45     $4.07        $3.75         600           $192
                                                                         855     29-Jun-18   13:50:21    29-Jun-18    11:04:45     $4.06        $3.75         639           $200.77
                                                                         856     29-Jun-18   13:50:21    29-Jun-18    11:04:44     $4.06        $3.75         1,277         $401.23
                                                                         857     29-Jun-18   13:50:26    29-Jun-18    11:04:44     $4.06        $3.75         723           $225.50
                                                                         858     29-Jun-18   13:50:26    29-Jun-18    14:41:29     $4.06        $3.75         600           $187.14
                                                                         859     29-Jun-18   13:50:26    29-Jun-18    11:15:22     $4.06        $3.76         3,877         $1,189.85
                                                                         860     29-Jun-18   10:57:01    29-Jun-18    11:15:22     $4.06        $3.76         4,123         $1,241.85
                                                                         861     29-Jun-18   10:57:01    29-Jun-18    11:15:21     $4.06        $3.76         877           $263.71
                                                                         862     29-Jun-18   15:16:19    29-Jun-18    11:15:21     $4.06        $3.76         700           $210.14
                                                                         863     29-Jun-18   15:16:31    29-Jun-18    11:15:21     $4.05        $3.76         151           $44.56
                                                                         864     29-Jun-18   13:50:29    29-Jun-18    11:15:21     $4.05        $3.76         646           $190.25
                                                                                                                                         27
                                                                         Match   Sale Date   Sale Time   Purch Date   Purch Time   Sale Price   Purch Price   Shares Used   Profit
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                                                                         865     29-Jun-18   15:16:27    29-Jun-18    11:15:21     $4.05        $3.76         2,331         $686.48
                                                                         866     29-Jun-18   15:16:13    29-Jun-18    11:15:21     $4.05        $3.76         1,451         $427.32
                                                                         867     29-Jun-18   13:50:03    29-Jun-18    11:15:21     $4.05        $3.76         1,844         $536.24
                                                                         868     29-Jun-18   13:50:03    29-Jun-18    11:15:24     $4.05        $3.76         4,036         $1,171.25
                                                                         869     29-Jun-18   13:50:06    29-Jun-18    11:15:24     $4.04        $3.76         300           $85.17
                                                                         870     29-Jun-18   13:50:05    29-Jun-18    11:15:24     $4.04        $3.76         3,664         $1,040.21
                                                                         871     29-Jun-18   13:50:05    29-Jun-18    11:15:20     $4.04        $3.76         1,209         $340.33
                                                                         872     29-Jun-18   13:50:03    29-Jun-18    11:15:20     $4.04        $3.76         3,201         $901.08
                                                                         873     29-Jun-18   10:57:01    29-Jun-18    11:15:20     $4.03        $3.76         3,590         $990.48
                                                                         874     29-Jun-18   10:57:01    29-Jun-18    14:41:34     $4.03        $3.76         1,410         $386.90
                                                                         875     29-Jun-18   10:57:01    29-Jun-18    14:41:34     $4.03        $3.76         4,090         $1,092.85
                                                                         876     29-Jun-18   10:57:01    29-Jun-18    14:41:33     $4.03        $3.76         910           $243.15
                                                                         877     29-Jun-18   13:50:07    29-Jun-18    14:41:33     $4.01        $3.76         2,501         $616.75
                                                                         878     29-Jun-18   13:50:09    29-Jun-18    14:41:33     $4           $3.76         2,085         $500.40
                                                                         879     29-Jun-18   13:52:17    29-Jun-18    14:41:33     $3.90        $3.76         4             $0.56
                                                                         880     29-Jun-18   13:52:17    29-Jun-18    11:06:30     $3.90        $3.80         1,000         $105.80
                                                                         881     29-Jun-18   13:52:17    29-Jun-18    11:06:31     $3.90        $3.80         1,000         $104.80
                                                                         882     29-Jun-18   13:52:17    29-Jun-18    11:06:31     $3.90        $3.80         1,000         $101.50
                                                                         883     29-Jun-18   13:52:17    29-Jun-18    11:06:37     $3.90        $3.80         174           $17.54
                                                                         884     29-Jun-18   13:52:17    29-Jun-18    11:06:34     $3.90        $3.80         300           $30.24
                                                                         885     29-Jun-18   13:52:17    29-Jun-18    11:06:33     $3.90        $3.80         1,000         $100.80
                                                                         886     29-Jun-18   13:52:17    29-Jun-18    11:06:33     $3.90        $3.80         1,000         $100.80
                                                                         887     29-Jun-18   13:52:17    29-Jun-18    11:06:32     $3.90        $3.80         1,000         $100.80
                                                                         888     29-Jun-18   13:52:17    29-Jun-18    11:04:59     $3.90        $3.80         2,000         $201.60
                                                                         889     29-Jun-18   13:52:17    29-Jun-18    14:50:32     $3.90        $3.80         1,150         $115.92
                                                                         890     29-Jun-18   13:52:17    29-Jun-18    11:15:33     $3.90        $3.83         1,900         $144.02
                                                                         891     29-Jun-18   13:52:17    29-Jun-18    11:15:32     $3.90        $3.83         1,900         $144.02
                                                                         892     29-Jun-18   13:52:17    29-Jun-18    11:15:34     $3.90        $3.83         747           $56.32
                                                                         893     29-Jun-18   13:52:23    29-Jun-18    11:15:34     $3.90        $3.83         19            $1.42
                                                                                                                                                              Total:        $6,102,002.20
                                                                                                                                         28
